So Oo SN DBD OH fe WD NK

DB BP HN KOO KR NY BR Dw mm eee
SD BONY ND SO USNS er a RON

28

STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 1 of 75

STEPHEN R. HARRIS, ESQ.

Nevada Bar No. 001463

HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511

Telephone: (775) 786-7600
E-Mail: steve@harrislawreno.com
Attorneys for Debtor

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA
ee
IN RE: Case No. 21-50466-btb
(Chapter 13)

DEBTOR’S MOTION FOR SANCTIONS

JULIANA MAYER LOZA, AGAINST LEVERTY & ASSOCIATES
LAW, CHTD. AND ALLIED
Debtor. FORECLOSURE SERVICES FOR

WILLFUL VIOLATION OF THE
§362(a) AUTOMATIC STAY AND TO
DECLARE FORECLOSURE SALE
VOID AB INITIO

/ Hearing Date:

Hearing Time:

Est. Time: 30 minutes

Set by: Judge Beesley per OST

JULIANA MAYER LOZA (“Debtor”), by and through her attorney, STEPHEN R.
HARRIS, ESQ., of HARRIS LAW PRACTICE LLC, hereby files her DEBTOR’S MOTION
FOR SANCTIONS AGAINST LEVERTY & ASSOCIATES LAW, CHTD. AND ALLIED
FORECLOSURE SERVICES FOR WILLFUL VIOLATION OF THE § 362(a) AUTOMATIC
STAY AND TO DECLARE FORECLOSURE SALE VOID AB INITIO (“Motion”), and states

 

and alleges as follows:
BACKGROUND
1. The Debtor, her deceased husband, Ray Warren Exley, M.D., and their pension

plan, Athena Medical Group Defined Contribution Pension Plan and Trust Number Three

 
Oo CO I DBD HA BP WY HY

Bo NR NO NB ND RD ND DD eet
SI DB WN FP WH HO FK DT OO CO a BDH A BP WW HPO HY OS

28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 2 of 75

(“Athena”), all have a long and tortured litigation history with Leverty & Associates Law Chtd.,
a Nevada corporation (“Leverty”’) and in particular one of its principals, Vernon E. Leverty, Esq.
(“Mr. Leverty’’). As a result, there were, and are, several state and federal civil actions involving
Leverty and the Debtor in her capacity as Co-Trustee or Special Administrator.

2. One such action in the United States District Court, District of Nevada, captioned
Leverty & Associates Law Chtd., a Nevada corporation v. Ray Warren Exley, an individual, Case
No. 3:17-00175-MMD-VPC, resulted in a Judgment in favor of Leverty and against Dr. Exley,
deceased, and Juliana Loza as Judgment Debtors, in the principal sum of $161,000 (“First
Judgment”). On March 12, 2021, the District Court entered a Writ of Execution in the amount of
$199,598.08, a copy of which is attached hereto as Exhibit A.

3. In its attempt to collect on the First Judgment, Leverty filed a Complaint in the
Ninth Judicial District Court, Douglas County, Nevada, on March 23, 2021, against the Debtor,
Ray W. Exley, M.D. Nevada Family Trust, Juliana Mayer Loza as a Corporate Officer of Athena
Medical Group, Inc. and as Trustee of the Athena Medical Group Defined Pension Plan and Trust
Number Three, Juliana Mayer Loza as Special Administrator and Personal Representative of Ray
Exley Estate, and multiple other related entities (collectively the “Defaulted Defendants”), as
Case No. 2021-CV-00057 (“Complaint”). The Complaint sought the avoidance of several
purportedly fraudulent transfers of the real property located 429 Panorama Drive, Stateline, NV
89449, APN: 1318-25-111-017 (‘Real Property”). The Debtor estimates the current market value
of the Real Property to be approximately $1.4 Million.

4. Even though Leverty knew that the Defaulted Defendants were represented by
legal counsel, it did not provide their counsel with notice of intent to default and as a result, a
Judgment by Default was entered by the state court on May 25, 2021 (“Default Judgment”). A
copy of the Default Judgment is attached hereto as Exhibit B. The effect of the Default Judgment
was to avoid four transfers and revert title to the Real Property back to Ray Warren Exley, M.D,
deceased (“‘Dr. Exley’s Estate’).

5. The Real Property was also encumbered by a Deed of Trust securing a Note in

favor of Rovert I. Novasel and Richard W. Schwarte, Co-Trustees of the Novasel & Schwarte

 
Oo CO SN DBD WA HR WY LH =

ND NO BD ND RO DR RD RD a ea
Sa HN WO BP WO NO BK ODO CO CO YTD DR A FP WH NH K OC

28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 3 of 75

Investments, Inc. Profit Sharing Plan, in the approximate sum of $175,000. In connection thereto,
Allied Foreclosure Services recorded a Notice of Default and Election to Sell (“NOD”) on April
20, 2020, and a Notice of Trustee’s Sale on January 4, 2021. Copies of the recorded NOD and
Notice of Trustee’s Sale are attached hereto as Exhibit C.

6. Seeing an opportunity to control the Real Property and divest the Debtor of any
equity, Leverty purchased for $220,000.00 the Note and Deed of Trust sometime on or before
January 22, 2021, and recorded an Assignment of Deed of Trust on January 22, 2021. A copy of
the Assignment of Deed of Trust is attached hereto as Exhibit D. The trustee’s foreclosure sale
was originally scheduled for January 27, 2021, at 1:00 p.m., but was continued so that a new sale
was ultimately scheduled for June 23, 2021, at 1:00 p.m.

7. As stated previously, the Real Property has an estimated market value of $1.4
million and substantial equity above the Deed of Trust. And the Debtor has a beneficial and
equitable interest in the Real Property whether title to the Real Property is held in the Debtor’s
name, in Dr. Exley’s Estate, or in Athena because she is a special administrator, co-trustee, and
beneficiary.

8. Thus, in order to preserve the equity in the Real Property, on June 22, 2021, at
3:03 p.m., an agent for Athena recorded a Quitclaim Deed in Douglas County, Nevada, as
Document No. 2021-969515, transferring any and all interest in the Real Property from Ray
Warren Exley, deceased, to The Athena Medical Group Defined Contribution Pension Plan and
Trust Number Three. Immediately thereafter, an agent for the Debtor recorded a Quitclaim Deed
in Douglas County, Nevada, as Document No. 2021-969516, transferring any and all interest in
the Real Property from Athena to the Debtor, Juliana Mayer Loza. Copies of the recorded
Quitclaim Deeds are attached hereto as Exhibit E.

9. Debtor then filed her voluntary petition for Chapter 13 bankruptcy relief on June
22, 2021, at approximately 6:18 p.m. PDT (See DE 1). Thus, at the time of the Debtor’s
bankruptcy filing, the Debtor held actual title to the Real Property. The Debtor, individually and
in her capacity as special administrator and co-trustee, also held beneficial and equitable interests

in any assets owned by Dr. Exley’s Estate and Athena. The Real Property and any beneficial and

 
oO Oo SS DB AW BP WD NY ke

BO DB BP BY HN BD RD DR mmm mm
sa DWN WO BP WD NO CO Oo fF Hs HR HR BP WO WVPO KH OO

28

STEPHEN R, HARRIS, ESQ,
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
"TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 4 of 75

equitable interests were immediately protected by the provisions of the 11 U.S.C. § 362(a)
automatic stay.

10. Shortly after filing the Debtor’s Chapter 13 case, at approximately 6:18 p.m. on
June 22, 2021, undersigned counsel emailed a letter and Notice of Bankruptcy Filing to Mr.
Leverty and William Ginn, Esq. at the Leverty law firm, advising them of the bankruptcy filing
and automatic stay. Copies of the Quitclaim Deeds were also emailed to Mr. Leverty and Mr.
Ginn, showing that Debtor held title to the Real Property. Copies of the letter and emails are
attached hereto as Exhibit F. The same letter and Quitclaim Deeds were also emailed and faxed
to Allied Foreclosure Services (“Allied”). As evidenced by the email chains attached hereto as
Exhibit F, Mr. Ginn replied to undersigned counsel and was thus aware of the bankruptcy filing
and automatic stay.

11. | Notwithstanding actual notice of the Debtor’s bankruptcy filing and automatic
stay, Leverty and Allied elected to proceed with the trustee’s foreclosure sale on June 23, 2021,
at 1:00 p.m., at which time the Real Property was purportedly sold for approximately $976,000.00
to Kamma, LLC, attention Brett Nelson, Manager.

12. Even up to the immediate time of the sale, Debtor’s counsel advised Patrick
Leverty, Esq., through co-counsel Gene Kaufmann, Esq., that Leverty and Allied were violating
the automatic stay by proceeding with the foreclosure sale. But Leverty and its agents disregarded
the warning and proceeded with the sale anyway, although it purportedly advised all potential
bidders that the Debtor had filed bankruptcy and was alleging a violation of the bankruptcy stay.

13.  Asaresult of Leverty and Allied’s blatant and willful violation of the 11 U.S.C. §
362(a) automatic stay, the Debtor had to file this Motion for sanctions and to set aside any
purported foreclosure sale.

LEGAL ARGUMENT

A. Leverty and Allied willfully violated the automatic stay by proceeding with the

foreclosure sale of the Real Property despite their knowledge of the bankruptcy.

Upon the filing of a bankruptcy case, § 362(a) imposes an automatic stay on all creditor

collection activities against the debtor. See 11 U.S.C. § 362(a). Section 362(a) provides in part:

 
oO CO ss DA NN BR WD HN

DN BPO KNOB RHO HN DB DD RD bw penne mk ek peek
“Sa HD OO F& WD HO K& DW OO CO HI DR A FP W HY YK OO

28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 5 of 75

“A petition filed under section 301, 302 or 303 . .. operates as a stay, applicable to all entities, of
... (3) any act to obtain possession of property of the estate or of property from the estate or to
exercise control over property of the estate. . . .““ The stay likewise applies to “any act to...
enforce any lien against property of the estate.” and “any act to .. . enforce against property of
the debtor any lien to the extent that such lien secures a claim that arose before commencement
of the case.” 11 U.S.C. §§ 362(a)(4) and (5).

The purpose of the automatic stay is to give the debtor a breathing spell from his or her
creditors, to stop all collection efforts, harassment, and foreclosure actions. First Nat’l Bank of
Anchorage and Alaska Title Guaranty Co. (In re Roach ), 660 F.2d 1316, 1318 (9th Cir. 1981)
(citations omitted). And “functionally the automatic stay is a combination of a temporary
restraining order and a preliminary injunction.” Jn re Henry, 266 B.R. 457 (Bankr. C.D. Cal.
2001). But importantly, the automatic stay differs from a temporary restraining order and a
preliminary injunction in six ways: (1) it is automatic upon the filing of a bankruptcy petition and
does not require a court order; (2) a debtor is not required to carry any burden of proof or provide
any level of evidence to obtain it; (3) a creditor is not entitled to be heard, or even to be given
notice, before it is imposed; (4) it requires no bond; (5) it is binding on all creditors, whether or
not they have notice of it, and lack of notice is chiefly a defense to punitive damages. Id.

The Ninth Circuit has addressed the breadth of the automatic stay and applies it seriously,
because the automatic stay plays a vital role in bankruptcy. Schwartz v. United States (In re
Schwartz), 954 F.2d 569, 571 (9th Cir. 1992). The automatic stay is one of the fundamental
protections provided by the Bankruptcy Code, and it is meant to give the debtor a breathing spell
and to stop “all collection efforts, all harassment. and all foreclosure actions.” Jd.

The Ninth Circuit has also explained that courts will not reward those who violate the
automatic stay. /d. at 572. Importantly, “[t]he Bankruptcy Code does not burden the debtor with
a duty to take additional steps to secure the benefit of the automatic stay.” /d. If a creditor believes
it has cause to continue post-petition collection efforts, then it has the burden of obtaining relief
from the automatic stay. Jd. (citing In re Williams, 124 B.R. 311, 317-18 (Bankr. C.D. Cal.
1991)).

 
Rh WwW bv

Oo Oo ~ DW AN

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 6 of 75

Here, the Quitclaim Deeds were recorded several hours before the Debtor’s bankruptcy
filing, thereby vesting all interest in the Real Property in the Debtor. And it is undisputed that
Leverty and Allied were aware of the bankruptcy filing and willfully chose to violate the
automatic stay with no explanation. After the foreclosure sale, Patrick Leverty, Esq., agent of
Leverty, advised Debtor’s co-counsel Gene Kaufmann, Esq. and in turn Debtor’s counsel, that
Leverty did not believe the automatic stay applied to the Real Property because the Quitclaim
Deed from Athena to the Debtor was signed on June 21, 2021, but the Quitclaim Deed from Dr.
Exley’s Estate to Athena was not signed until the next day, on June 22, 2021. Thus, Leverty
argued that when Athena transferred its interest to the Debtor, it did not hold any interest to
transfer because Athena did not accept its interest in the Real Property until the next day when
Dr. Exley’s Estate signed the Quitclaim Deed transferring its interest to Athena. But this argument
is unpersuasive because Leverty and Allied have no knowledge of the intent of the grantors and
grantees in delivering and accepting the deeds. The signature dates do not correlate with delivery
and acceptance of the deeds, both of which are required to make deeds effective. Moreover, for
purposes of title record and notice to the world, the Quitclaim Deeds were recorded in the order
that reflected the parties’ intent, thus vesting final title in the Debtor.

Finally, NRS 111.160 provides that after-acquired title passes to a grantee. Specifically,
“Ti]f any person shall convey any real property, by conveyance purporting to convey the same in
fee simple absolute, and shall not at the time of such conveyance have the legal estate in such real
property but shall afterward acquire the same, the legal estate subsequently acquired shall
immediately pass to the grantee, and such conveyance shall be valid as if such legal estate had
been in the grantor at the time of the conveyance.” NRS 111.160. Thus, even assuming for
argument sake that Leverty was correct that the Quitclaim Deeds were delivered and accepted by
the grantors and grantees out of order, the conveyances are still valid under NRS 111.160.

Moreover, even if the Debtor did not hold actual title in the Real Property, she had an
equitable and beneficial interest in the Real Property individually as a beneficiary, and in her
capacity as special administrator and co-trustee of Dr. Exley’s Estate and the Athena trust. And

Leverty is well aware of the Debtor’s multiple roles because it has sued her in all of those

 
oOo CO Ss DH A BP WD HN

BN NO KR KR HN HR KR RD wk eet
Sa DB OR SB WO HNO KF DTD DO ODO HT DB A FBP WY HPO KK OC

28

STEPHEN R, HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
‘TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 7 of 75

capacities.

Regardless of any purported argument concocted by Leverty about the signature dates of
the Quitclaim Deeds, the point is that it was not up to Leverty and Allied to unilaterally adjudicate
any dispute and willfully violate the automatic stay. If they had a colorable argument about
whether or not the automatic stay protected the Real Property, the Bankruptcy Code places the
burden on them to seek guidance or permission from this Court first. But apparently Leverty and
Allied believe they are above the law and that their legal theories preempt both the Bankruptcy
Code and this Court’s authority.

B. Because Leverty and Allied willfully violated the automatic stay, the Court is

required to award the Debtor her actual damages.

A willful violation of the automatic stay results in a mandatory imposition of actual
damages, costs, and attorney’s fees under 11 U.S.C. § 362(k)(1). In re Ramirez, 183 B.R. 583,
589 (B.A.P. 9th Cir. 1995). 11 U.S.C. §362(k) provides that an individual injured by any willful
violation of the automatic stay “shall recover actual damages, including costs and attorneys’ fees,
and, in appropriate circumstances, may recover punitive damages.” 11 U.S.C. § 362(k) (emphasis
added). Section 362(k) requires a two-prong inquiry: First, the Bankruptcy Court must determine
that the individual seeking the award was indeed injured by the violation of the automatic stay.
Second, the court must determine that the violation was willful.

The Ninth Circuit has explained that “[b]y limited the availability of actual damages under
§362(k) to individuals, Congress signaled its special interest in redressing harms that are unique
to human beings. Jn re Dawson, 390 F.3d 1139, 1148 (9th Cir. 2004). One such harm is emotional
distress, which can be suffered by individuals but not by organizations.” Jd. at 1146. Proof of
pecuniary loss is not required for an award of emotional distress damages. /d. at 1149. To recover
damages for emotional distress under § 362(k), an individual must either: (1) suffer significant
harm; (2) clearly establish the significant harm; or (3) demonstrate a causal connection between
that significant harm and the violation of the automatic stay. Jd. Emotional harm may be proved
by: (1) medical evidence; (2) non-experts, such as family members, friends, or coworkers; or (3)

even without corroborative evidence where significant emotional distress is readily apparent. Id.

 
oOo CO SS HN WO BP WY NH

NO RO KOO NO KO BR RO RD i etm
YI HD A BP WY NH K§ DT OO OW IT HDB vWD BP W PO KH |

28

STEPHEN R, HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 8 of 75

The last category includes cases where the violator’s conduct is “egregious,” or where the conduct
is not egregious but the circumstances make it obvious that a reasonable person would suffer
significant emotional harm. Jd. See In re Shwartz-Tallard, 438 B.R. 313, 321-22 (D. Nev. 2010),
affirmed 803 F.3d 1095 (9th Cir. 2015) (en banc); Jn re Martinez, 561 B.R. 132 (Bankr. Nev.
2016).

In Schwartz-Tallard, Chief Judge Gloria M. Navarro of the U.S. District Court for the
District of Nevada affirmed Judge Linda B. Riegle’s award of $80,000 in damages for a willful
violation of the automatic stay. Schwartz-Tallard, 438 B.R. at 316. That case also involved the
post-petition taking of real property through a foreclosure sale. /d. Judge Navarro affirmed Judge
Riegel’s award of $40,000 in emotional distress damages, $20,000 in attorney’s fees, and $20,000
in punitive damages. /d. With regard to the emotional distress damages, Judge Navarro explained
that any reasonable person that has their home wrongfully taken from them “would suffer
significant emotional distress ... .” Jd. at 322.

This case presents the same significant emotional distress encountered by Judge Navarro.
The Debtor expended significant time and effort precisely to save her family home and it was
wrongly taken from her at a time when she thought it was protected by the Bankruptcy Code. As
any reasonable person would, Debtor suffered significant emotional distress, especially because
she has been mercilessly targeted by Leverty’s heavy-handed litigation tactics for several years.
Indeed, the Debtor has tried to pay Leverty’s First Judgment a few times by refinancing or selling
the Real Property. For malicious reasons, Leverty has thwarted each attempt by recording
frivolous pleadings and Jis pendens against the Real Property to cloud its title, or by initiating new
lawsuits—all in Mr. Leverty’s quest to extend his personal vendetta against the Debtor. Indeed,
the First Judgment is against the Debtor as well as Dr. Exley, so transferring the Real Property
from his estate to her does not in any way evade payment of the First Judgment by dissipating
executable assets. But Leverty is determined not only to collect payment of its judgment, but also
to deprive the Debtor of any surplus equity. All of this has substantially compounded the
emotional distress suffered by the Debtor upon finding out that Leverty and Allied would proceed

with the Real Property’s foreclosure sale despite her bankruptcy filing.

 
1
2
3
4
5
6
7
8
9

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2300
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 9 of 75

In addition to emotional distress damages, the Debtor has also incurred attorneys’ fees and
costs in responding to Leverty and Allied’s willful violation of the stay. These are actual damages
which the Court must award, but the exact amount will not be known until this Motion is
adjudicated.

Having established that Debtor has suffered actual damages because of Leverty and
Alhed’s actions, the Court must decide if their violation of the stay was willful. It undoubtedly
was. “A ‘willful violation’ does not require a specific intent to violate the automatic stay. Rather
the statute provides for damages upon a finding that the creditor knew of the automatic stay and
that the creditors’ actions which violated the stay were intentional. Whether the party believes in
good faith that it had a right to the property is not relevant to whether the act was ‘willful’ or
whether compensation must be awarded.” In re Bloom, 875 F.2d 224, 227 (9th Cir. 1989).

Here, it is undisputed that Leverty and Allied knew of the automatic stay. Their actions in
conducting the foreclosure sale were also flagrant and intentional. Thus, it does not matter
whether they had novel legal theories about why the Real Property was not really vested in the
Debtor despite the recorded Quitclaim Deeds. Any questions about the applicability of the
automatic stay should have been brought to this Court first—Leverty and Allied are not entitled
to act as judge, jury, and executioner; they willfully violated the automatic stay.

In summary, under the circumstances presented here, the Court should award $50,000 to
the Debtor for emotional distress damages, in addition to the Debtor’s actual attorneys’ fees and
costs in an amount to be determined, jointly and severally against Leverty and Allied.

C. This Court should also award Debtor punitive damages.

As noted above, 11 U.S.C. § 362(k) empowers this Court to award punitive damages for
a violation of the automatic stay. “Generally speaking, there are two underlying purposes for
punitive damages awards: to punish outrageous conduct and to deter future similar conduct.” Jn
re Orian, 2018 Bankr. LEXIS 3734, 37 (B.A.P. 9th Cir. 2018). In Snowden, the Ninth Circuit
found that a “reckless or callous disregard for the law,” supports an award of punitive damages.
Snowden, 769 F.3d 651, 657 (9th Cir. 2014), quoting Jn re Bloom, 785 F.2d 224, 228 (9th Cir.

1989). While there is no fixed ratio or formula for determining the proper proportion, a court

 
BR Ww bd

Oo Oo sI DW WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

Case 21-50466-nmc Doc? Entered 06/24/21 11:10:48 Page 10 of 75

should generally consider (1) the nature of the stay violator’s acts; (2) the amount of compensatory
damages awarded; and (3) the wealth of the stay violator. Prof’] Seminar Consultants, Inc. v. Sino
Am. Tech. Exch. Council, Inc., 727 F.2d 1470, 1473 (9th Cir. 1984).

In this case, Leverty and Allied have most certainly acted recklessly and in callous
disregard for the law. First, they conducted the foreclosure sale with full knowledge that this
bankruptcy case was pending. Second, they are sophisticated legal experts well-versed in the law
and the consequences of violating the bankruptcy stay. Indeed, Leverty and Allied believe they
are so well-versed in the law that they decided they were entitled to unilaterally conclude that the
bankruptcy stay did not protect the Real Property even though title was clearly held in the
Debtor’s name based on the public record. Very rarely do creditors show such blatant disregard
for the Bankruptcy Code and this Court’s authority. Therefore, punitive damages are warranted.

The gravity of Leverty and Allied’s actions warrants an award of punitive damages in the
amount of $50,000. Such a damage is at a one-to-one ratio to the emotional distress damages
requested by the Debtor. Debtor is informed and believes that Leverty and Allied are sufficiently
wealthy to be able to easily pay such punitive damages. In fact, Leverty purchased the Note and
Deed of Trust against the Real Property earlier this year just to be able to exercise more control
over the Debtor, so Leverty obviously has sufficient funds to pay such punitive damages. In this
regard, the Debtor believes that anything less than $50,000 may not be sufficient to deter similar
future conduct by Leverty and Allied.

Debtor thus asks this Court to award her punitive damages of $50,000 or more, jointly and
severally against Leverty and Allied.

D. The foreclosure sale is void ab initio because it was conducted in violation of the

automatic stay.

The final issue is that the Debtor seeks an order determining that the Real Property
foreclosure sale conducted on June 23, 2021, by Leverty and Allied is void ab initio. The Ninth
Circuit has clearly stated that acts done in violation of the automatic stay are void, rather than
voidable, because merely voidable acts “would have the effect of encouraging disrespect for the

stay by increasing the possibility that violators of the automatic stay may profit from their

10

 

 
Oo CO ~~ HD A BP WY NO Ke

DO NO WN KR PO KN BR Dw wm ee ee eee
SN ND OD FP WH] NY FK|§ FD ODO OH as DB A FP WY NH FH OC

28

STEPHEN R. HARRIS, ESQ.
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 11 of 75

disregard for the law, provided it goes undiscovered for a sufficient period of time.” Schwartz,
954 F.2d a6 569. Indeed, Leverty and Allied displayed outrageous disrespect for the automatic
stay by unilaterally deciding they were above the law.

In conclusion, the Debtor is not required to take any special action to avoid the effect of
the foreclosure sale. This Court can enter its order determining that the foreclosure sale was
conducted in violation of the automatic stay and is thus void ab initio.

CONCLUSION

Based on the foregoing, the Debtor respectfully requests that this Court enter its Order:
(1) Compelling Leverty and Allied to cancel any trustee deeds issued at the Real Property
foreclosure sale; (2) finding that the Real Property foreclosure sale was conducted in violation of
the 11 U.S.C. § 362(a) automatic stay and is void and of no effect; (3) finding that Leverty and
Allied knowingly and willfully violated the automatic stay; (4) awarding Debtor emotional
distress damages in the amount of $50,000; (5) awarding Debtor punitive damages in the amount
of $50,000, or more; (6) awarding Debtor her actual attorneys’ fees and costs incurred in
recovering her Real Property, estimated at $10,000.00, to be determined after this Motion is fully
adjudicated; and (7) for such other relief as this Court deems to be appropriate or necessary.

DATED this 24" day of June 2021.
STEPHEN R. HARRIS, ESQ.

HARRIS LAW PRACTICE LLC
/s/ Stephen R. Harris

 

Attorney for Debtor

11

 

 
Oo CO s ND WN FB W] NO ek

BS SO NHN NO KD RO RO Rm wm wee
SDN OD BR W NY YK DT Oo Oo I HD WH BP WY PPO KF |

28

STEPHEN R, HARRIS, ESQ,
HARRIS LAW PRACTICE, LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

 

Case 21-50466-nmc

Doc 7 Entered 06/24/21 11:10:48 Page 12 of 75

EXHIBIT A

 
¢

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 13 of 75

 

 

| APN# 1318-25-111-017

 

DOUGLASCOUNTY,NV = -9994.965113

Rec:$40.00
Total:$40.00 04/08/2021 11:03 AM
LEVERTY & ASSOCIATES LAW

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

00132291202109651 13004

KAREN ELLISON, RECORDER

Recording Requested by:

Name: Leverty & Associates Law
Address: 832 Willow St.
City/State/Zip: Reno, NV 89502

 

When Recorded Mail to:
Name: Leverty & Associates Law - 4
Address: 832 Willow St. vee ( for Recorder’s use only )

 

 

 

UIA

 

 

City/State/Zip: Reno, NV_ 89502

 

Mail Tax Statement to:
Name:
Address:
City/State/Zip:

 

 

 

Writ of Execut; ion”

a Title-of Document ye

 

“Please complete Affirmation Statement below:

I I the undersigned hereby affirm that the attached document, including any exhibits, hereby

submitted for recording does not contain the personal information of any person or persons.
(Per: NES. 2398. 030)’,
: -OR- i

og T the undersigned: hereby affirm that the attached document, including any exhibits, hereby

submitted for recording does contain the personal information of a person or persons as required by
law:

Le (State 4 c law)

Signature “ Title

ess Kine hark |

 

 

. Printed Name

This page added to provide additional information required by NRS 111.312 Sections 1-2
and NRS 239B.030 Section 4.

This cover page must be typed or printed in black ink. (Additional recording fee applies)

 

 
w

 

ft

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 14 of 75

y

10
ie
12
13
14
15
16

° 20
» 21

2b

25
26
27
28

19

22,

Case 3:17-cv-00175-MMD-WGC Document 182 Filed 03/12/21 Page 1 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

LEVERTY & ASSOCIATES LAW CHTD., a
Nevada Corporation,

Plaintiff,
Vv.

RAY WARREN EXLEY, an individual; DOES
I-XXX; and ABC CORPORATIONS A-Z;
inclusive,

Case No. 3:17-00175-MMD-VPC

)
)
)
)
)
)
)
)
Defendants )
RAY WARREN EXLEY, an individual; o-<-)
)
)
)
)
2
)
)
)
)

Counter-Plaintiff” "
y =.
LEVERTY & ASSOCIATES LAW ‘CHID., ay .
Nevada Corporation, DOES I-XXX; and ABC ,
CORPORATIONS AZ inclusive, .

- "Counter-Defendants

 

WRIT OF. EXECUTION

TO THE UNITED STATES MARSHAL FOR THE DISTRICT OF NEVADA:
_On February, 25, 2019, a Judgment was entered i in the docket of the above-entitled Court
and action, in favor of Leverty & Associates Law Chtd. as Judgment Creditor and against Ray
‘Warren Exley, deceased! and Juliana Loza as Judgment Debtors, for $161,000 principal, making
a total of $161,000 JUDGMENT AS ENTERED.

WHEREAS, according to an affidavit and request for issuance of writ of execution filed
herein, it appears that, farther sums have accrued since the entry of judgment, to wit:

$38, 598. 08: acorued interest.

~ Credit must be given for payments and partial satisfaction in the amount of zero dollars

and 1 no cents ($0. 00), leaving a net balance of $_$199,598.08 ACTUALLY DUE on the

 

‘ Juliana Loza is the personal representative to the Estate of Ray Warren Exley. (ECF
177).
1

 

MAR 18 2021

 
u

a

-

w

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 15 of 75

a

10
1]
12
13
14
15
16
17

18

20
Q 2 1

24°

25
26
27
28

Case 3:17-cv-00175-MMD-WGC Document 182 Filed 03/12/21 Page 2 of 3

date of the issuance of this writ, of which $161,000 is due on the Judgment as entered, and bears
interest pursuant to the Court’s February 25, 2019, Judgment (ECF 145) as follows:

Interest has been accruing at the legal rate set forth in NRS § 17.130(2), commencing on
July 27, 2017. The ACCRUED interest since July 27, 2017, was computed at the following rates
pursuant to the Court’s February 25, 2019, Judgment: yo

a. July 27, 2017 through December 31, 2017 - 6.25%

b. January 1, 2018 through June 30, 2018°- 6. 5%

c. July 1, 2018 through December 31, 2018 - 1. 00%

d. January 1, 2019 through June 30, 2019 - 1. 50%

€. July 1, 2019 through December 31, 2019 = 7. 50%

f. January 1, 2020 through Junie 30, 2019 - 6.75% i

g. _July 1, 2020 through December 31, 2020 - 5. 25%

h, January 1, 2021 through March: LL, 2021 - $5, 25%

The $161, 000 due on the Judgment: as entered, bears interest at 5.25% in the amount of
$23.16 PER DAY from the date of the Affidavit and Request for Issuance of Writ of Execution
to the date of issuance of this writ, to which: must be added the’ accrued costs and fees and the
commissions. and costs of the officer executing this writ.

Notice by mail of any sale of property under this writ of execution has been requested.
The following named persons have requested stich notice of sale:

Vernon E. Leverty, Esq... |

William R. Ginn, Esq,

Leverty & Associates Law Chtd.

832 Willow St. *

Reno, NV 89502
(775) 3226636

Os, YOU ARE THEREFOR COMMANDED to satisfy said Judgment with interest and costs
aS provided by law and your costs and disbursements out of the personal property of said
debtors, except.that for any pay period, 75 percent of the disposable earnings of the debtor
during this period or for each week of the period 30 times the minimum hour wage prescribed by
section 6(a)(1) of the Federal Labor Standards Act of 1938 [29 U.S.C. Sec. 206(a)(1)], and in the
effect at the time the earnings are payable, whichever is greater, is exempt from any levy of
execution pursuant to this writ, and if sufficient personal property cannot not found, then out of

the debtors real property, or if the Judgment be a lien upon real property, then out of the real

2

 

 
2

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 16 of 75

10
11
12
13
14
15
16
17

1B

9
“20
4

cal
24

25
26
27
28

22

Case 3:17-cv-00175-MMD-WGC Document 182 Filed 03/12/21 Page 3 of 3

property belonging to such debtors, and make return of this writ not less than (10) days nor more
than sixty (60) days after your receipt thereof with what you have done endorsed hereon.

Judgment Creditor/Plaintiff will identify to the U.S. Marshall or his representatives assets
that are to be seized to satisfy the judgment and order. Said assets include real property of said
debtors, including Douglas County Assessor Parcel Number 1318-25-111-017, real property
situated in the County of Douglas, State of Nevada, commonly known by its physea address of
429 Panorama Drive, Stateline, Nevada 89449.

YOU ARE FURTHER COMMANDED if necessary, to turn over any ‘property seized
under this order to a third party custodian or to the plaintiff. The U.S. Marshall or his
representative is authorized to use reasonable force in the execution of this Judgment/Order and
the Judgment Creditor/Plaintiff will hold the U.S. Marshall Services: harmless of any liability
that may be imposed as a result of the execution of the Judgment.

CLERK OF COURT

. March 12, 2021
_ Signature of Clerk or Deputy Clerk

Date:

 

 

b hereby attest and cert. lT-20 2 (

that the foregoing document.ts a full, true
and correct Copy of the orlginal on file in my
legal’ gustady,

© CLERK, U.S. DISTRICT COURT
DISTRICT OF NEVADA

   

 

 
l
2
3
4
5
6
7
8
9

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE, LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

Case 21-50466-nmc

 

Doc 7 Entered 06/24/21 11:10:48 Page 17 of 75

EXHIBIT B

 
 

Case 21-50466-nmc Doc 7 Entered 06/24/21 11:10:48 Page 18 of 75 |

DOUGLASCOUNTY, NV =. 9924-96897

 

 

 

 

 

 

 

 

 

 

 

Re to 00 06/11/2021 01:12PM
APN#__1318725-111-017 LEVERTY & ASSOCIATES LAW
Name: uaverty haere ACO
Name: Leverty & Associates Law 001365552021096897101

 

Address: 832 Willow St. KARENELLISON, RECORDER
City/State/Zip: Reno, NV 89502

 

When Recorded Mail to:

Name: Leverty & Associates Law
Address: 832 Willow St.
City/State/Zip: Reno, NV_ 89502

( for Recorder's use only )

                   

 

 

Mail Tax Statement to:
Name:
Address:

City/State/Zip:

 

 

 

JUDGMENT BY DEFAULT ~~
~ (Title of Document )

 

‘Please complete Affirmation Statement below:

] I the undersigned, hereby affirm that the attaclied document, including any exhibits, hereby

submitted for recording does not contain the personal information of any person or persons.
(Per) NRS. 2388. +030)
-OR-

“g Tthe undersigned hereby affirm that the attached document, including any exhibits, hereby

. submitted for recording does contain thé ‘personal information of a person or persons as required by
law: .

OZ”

Ailgnature ° Title

a Pine loot

Printed Name

 

 

This page added tp provide additional information required by NRS 111.312 Sections 1-2
and NRS 239B.030 Section 4.

This cover page must be typed or printed in black ink. (Additional recording fee applies)

 

 
 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 19 of 75

RECEIVED

MAY 24 2021

Douglas Count wh
District Court Clark St ve te D

Case No.: 2021-CV-00057 AGP te pes
€ Ld hiss 8
Dept No.: | a . ~ ye
- ? tom ote ~ tee
: 7 of ¥
‘This document does not contain personal uiformation of any person ,
Z \ mrteny
; As Aer Et

IN THE NINTH JUDICIAL DISTRICT COURT OF THE STATE OF. NE VADA
IN AND FOR THE COUNTY OF DOUGLAS »

LEVERTY & ASSOCIATES LAW CHTD.,
Plaintiff.
¥,

Athena Medical Group Defined Contribution
Pension Plan and Trust Number Three; et al.

Defendants.

JUDGMENT BY DE FAULT
Judgment by. Default against Defendants Juliana Mayer Loza; Ray W. Exley M.D. Nevada
Family Trust: Juliana Mayer Loza as a Corporate OMicer of Athena Medical Group, Inc. and as Trustee

of the Athena Medica Group Defined Pension Plan and Trust Number Three: Ingrid Van Vuerings

individually and asa Corporate, Officer of Athena Medica Group and as Trustee of the Athena Medical

WG iouip Defined Pension Plan: and Triist Number Three: Juliana Mayer L.oza as Trustee of Athena

Medical Group. Inc. Defined Contribution Plan Nuinber Two; Ingrid Van Vuerings as Trustee for
Athena Medical Group, Ine. Defined Benefit Pension Plan and ‘Trust Chtd.: Athena Medical Group
Defined Contribution Pension: Plan and Trust Number Three; Athena Medical Group, Inc. Defined
Cntibiion Plan Number Two; Athena Medical Group, Inc. Defined Benefit Pension Plan and Trust
Chic: Athena Medical | Group Ine.. a Nevada Corporation aka Athena Medical Group Corp., a Nevada
non-filing enuty and Juliana Mayer loza as Special Administrator and Personal Representative of Ray

Exley Estate.

JUDGMENT BY DEFAULT

 
 

 

Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 20 of 75

This matter came before the Court on Plaintiff Leverty & Associates Law Chtd.*s Application
for Judgment by Default. The Court, having review the file, the pleadings therein, the argument of
counsel, and the evidence presented, THE COURT HEREBY FINDS:

i. On March 23, 2021, Leverty & Associates Law Chtd. (“Leverty") fi filed a Complain
against Defendants Juliana Mayer Loza; Ray W. Exley M.D. Nevada Family ‘Trust; ‘Julian Mayer Loza
as a Corporate Officer af Athena Medical Group. Inc. and as Trustee of the ‘Athena: Medical Group
Defined Pension Plan and Trust Number Three; Ingrid Van Vuerings individual and.as a Corporate
Officer of Athena Medical Group and as Trustee.of the Athena Medical Group Defined Pension Plan :
and Trust Number ‘Uhree: Juliana Mayer Loza as Trustee of Athena Medieal Group. Inc. Defined s
Contribution Plan Number Two: Ingrid Van Verna as, Jrustee fo thon Medical Group, Inc.
Defined Benefit Pension Plan and Trust Chtd.; Athena. Medital Group Defined Contribution Pension
Plan and Trust Number Thee: Athena Medica Group. Inc: Defined Contribution Plan Number Two,
Athena Medical Grog. Ine. Defined Benefit Pension Plan and Trust C htd.: Athena Medical Group Inc..
a Nevada Conporation aka Athena Medical Group Corp. a Nevada nonefi ling entity and Juliana Mayer
Loza as Special Administrator and Personal Representative of Ray Exley Estate. (Hercinafer
Collectively ‘Defaulted, Defendants” ). 7

2, On March 31: 2021, ‘Defendant Juliana Mayer Loza was served a copy of the Summons

and Complaint. which was filed with the.Court.or April 14, 2021.

3. On April 23, 2021. the Clerk of the Court entered Delault against Defendant Juliana
Mayer Loza, as more than 2 | days, exclusive of the date of service. had cxpired since service upon
Defendant Juliana Mayer Lora. and no answer or other appearance had been filed by Defendant Juliana
Mayer Loza. anda no r urther" time has becn requested or granted.

4, On “Mareh 31.2021, Defendant Ray W. Exley M.D. Nevada Family Trust was served a

copy of the Summons and Complaint, which was filed with the Court on April 14, 2021.

JUDGMENT BY DEFAULT

 
nw

— WwW

oO Oo CO S WN Ww

Corporate Officer of Athena Medical Group, Inc. and as Trustee of the Athena Medical Group Defined

\ and [rust Number Three was served a a copy of the Summons and Complaint. which was filed with the

Court on ‘April | 14, 2021,

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 21 of 75

5. On April 23, 2021, the Clerk of the Court entered Default against Defendant Ray W.
Exley M.D. Nevada Family Trust, as more than 21 days, exclusive of the date ol'service, had expired
since service upon Defendant Ray W. lixley M.D. Nevada Family Trust, and no answer or other
appearance had been filed by Defendant Ray W. [Exley M.D. Nevada Family Frustt and'no further time
has been requested ar granted. | |

6. On March 31. 2021, Defendant Juliana Mayer ova as a Comporati Officer of Athena
Medical Group, Inc. and as ‘Trustee of the Athena Medical Group-Defined Pension Plan.and ‘Trust
Number Three was served a copy of the Summons and Complaint, which was filed with the Court of,
April 14. 2021, | | | \

7. On April 23. 2021. the Clerk of the Couttentered Default against Defendant Juliana
Mayer Loza as a Corporate Officer of Athena Medical Group, Ine. and as ‘Trustee of the Athena Medical
Group Defined Pension Plana and. Trust Number T hree, as more tho 2\ “ay s. exclusive of the date of
service. had expired | since service upon Defendant J Juliana Mayerto I O78 as: ac Corporate Officer of Athena
Medical Group. Inc, : and as Trustee of the Athena Medical Group Defined Pension Plan and Trust

Number Three, and ho answer or other appearance had:been filed by Defendant Juliana Mayer Loza asa

Pension Plan and Trust Nuniber Three:and no. further time has been requested or granted.
8. On March 31, 2021, Defendant Ingrid Van Vuerings individually and as a Corporate

Officer of Athena Medical Group and as Trustce of the Athena Medical Group Defined Pension Plan

“9. . On Ave il 232021. the Clerk of the Court entered Default against Defendant Ingrid Van
Vuerings individually and as a Corporate Officer of Athena Medical Group and as Trustee of the Athena

Medical Group Defined Pension Plan and Trust Number Three. as more than 21 days. exclusive of the

JUDGMENT BY DEFACLT

 
No

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 22 of 75

date of service, had expired since service upon Defendant Ingrid Van Vuerings individually and as a
Corporate Officer of Athena Medical Group and as Trustee of the Athena Medical Group Defined
Pension Plan and ‘Trust Number Three, and no answer or other appearance had been filed by Defendant
Ingrid Van Vucrings individually and as a Corporate Officer of Athena Medheal Group and as Trustee of
the Athena Medical Group Defined Pension Plan and Trust Number Three. and no Further time has been
requested or granted. | | |

10. On Mareh 31, 2021, Defendant Juliana Mayer Loza.as Trustee of Athena Medical Group,
Inc. Defined Contribution Plan Number Two was served a copy of the Summons and Complaint whieh
was filed with the Court on April 14, 202] a | |

Il, On April 23. 2021, the Clerk of the Court entered Default agains! Defendant Juliana
Mayer Loza as Trustee of Athena Medical Group. Ine: Defined Contribution Plan Number Two, as more
than 2] days. exclusive of the date.of service. had. expired since csi upon Defendant Juliana Mayer
Loza as Trustec of Athena, siedtca Group, | Ine: Defined Contribution Plan Number Two, and no answer
or other appearance: had ben filed by Defendant Juliana Mayer Loza as ‘sartstee of Athena Medical
Group, Inc. Defined Contribution Plan Number Two, a rd further time has been requested or granted,

“12. On March 3h 2021. Defendant ingrid Van Vuevings as Trustee for Athena Medical
Group, Inc. Defined Benefit Pension Plan.and Trust Chid. was served a copy of the Summons and
Complaint. which was filed with the Court.on.Apr il 14, 2021.

13. On April 23, 2021, the Clerk of the Court entered Default against Defendant Ingrid Van
Vuerings as Trustee for Athena Medical Group, Inc. Defined Benefit Pension Plan and ‘Trust Chtd., as
more thar 21 days. exclusive of the date of service, had expired since service upon Defendant Ingrid
Van Viievings as Irustee for Athena Medical Group. Inc. Defined Benefit Pension Plan and Trust Chtd..

and no answer or other appearance had been filed by Defendant Ingrid Van Vuerings as ‘Trustee for

JUDGMENT BY DEFAULT

 
to

‘ gran ted.

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 23 of 75

Athena Medical Group, tne. Defined Benefit Pension Plan and Trust Chid.. and no further time has been
requested or granted.

14. On March 31, 2021, Defendant Athena Medical Group Defined Contribution Pension
Plan and Vrust Number Three was served a capy of the Summons and Complaint. which was filed with
the Court on April $4. 2021.

13. On April 23. 2021. the Clerk of the Court enteréd: Default against Athena Medical Group
Defined Contribution Pension Plan and ‘Trust Number Three. as more than 21 days: exclusive of.the date
of service, had expired since service upon Defendant Athena Medical Group Defined Contribution
Pension Plan and Trust Number Three, andafo answfer or other appearance had been filed by Defendant” .
Athena Medical Group Defined Contribution Pension Plan and Trust Number Three, and no further time
has been requested or granted, — oe

16. On March’3 I 202 |. Defendant Athena Medical Group, Inc. Defined Contribution Plan
Number Two was served aeopy of the Summons and Complaint which \ as filed with the Court on
April 14, 202. | |

17, _ On April 23, 2021, the Clerk of the Court entered Default against Defendant Athena
Medical Group, Ine. Defined Contribution Plan Number Two, as more than 21 days, exclusive of the
date of service. had expired sinee serViee upon Defendant Athena Medical Group. Inc. Defined
Contribution Plan Number Two. and no: answer or other appearance had been filed by Defendant Athena

Medical Group. Inc. Defined Contribution Plan Number Two, and no further time has been requested or
1B. On March.3 I, 2021, Defendant Athena Medical Group. Inc. Defined Bencfit Pension

Plan and-Trust Chtid. was served a copy of the Summons and Complaint, which was filed with the Court

on April 14, 2021.

JUDGMENT BY DEFAULT

 
 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 24 of 75

19. On April 23. 2021, the Clerk of the Court entered Default against Defendant Athena
Medical Group, Inc. Defined Benefit Pension Plan and ‘Trust Chtd.. as more than 2 |.days. exclusive of
the date of service, had expired sinee service upon Defendant Athena Medical Group. Ine. Defined
Benefit Pension Plan and ‘Trust Chid., and no answer or other appearance had been filed by Defendant
Athena Medical Group. Inc. Defined Benefit Pension Plan and Trust Chid.. and no further time has been
requested or granted, | .

20. On April 9. 2021. Defendant Athena Medical Group Inc., a Nevada Corporation aka
Athena Medical Group Corp.. a Nevada nonefiing entity was served a copy of the Summons ane |
Complaint, which was filed with the Court on A prit 14 021

21. On May 7, 2021. the Clerk of the Coun Entered Default aghina Defendant Athena
Medical Group Inc.. a Nevada Corporation aka Athena Medial Group Corp.. a Nevada non-filing
entily, as more than 21 days, exclusive of the date.of services had expired since service upon Defendant
Athena Medical Group Ineda Nevada Corporation aka’Athena Medical Group Corp.. a Nevada non-
filing entity, and no answer or other appearance had ‘been filed by Defendant Athena Medical Group
Inc., a Nevada Corporation aka Athena Medical Group Corp., a Nevada non-filing entity, and no further
time has been requested or grained. |

- 22. On April 9.2021. Defendant Juliona Mayer Loza as Special Administrator and Personal
Representative of Ray Exley state was served a-copy of the Summons and Complaint, which was filed
with the Court on April 14. 2021.5,

“23. On May 7. 2021, the.Clerk of the Court entered Default against Defendant Juliana Mayer

[oza as Special Administrator and Personal Representative of Ray Exley [/state. as more than 21 days.
i" Pee Ss i" p y ) ‘

exclusive of the date of service, had expired since service upon Defendant Juliana Mayer L.oza as

Special Administrator and Personal Representative of Ray Exley Estate. and no answer or other

JUDGMENT BY DEFAULT

 
 

 

N

fad

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 25 of 75

appearance had been filed by Defendant Juliana Mayer L.oza as Special Administrator and Personal
Representative of Ray lixley Estate,

24. On or about May 21. 2021. Plaintiff Leverty & Associates |.aw Chtd. filed an
Application for Judgment by Default against the Default Defendants which was dated Mary 21, 2021.

25, The Application for Judgment by Default provides, and is supported by allached exhibits
that demonstrate. Douglas County Assessor Pareel No. 1318-25=1-1-017, » nmonly rosy by its
physical address of 429 Panorama Drive, Stateline, Nevada 89449, was fraudulently transferred.in
accordance with the provisions of Nevada Revised Statute’ Chapter | 12'- Fraudulent ‘Transfers (Uniform
Act). on or about May 12. 2017, when title to Assessor Parcel No. 131 8-25-1 11-017 was transferred
pursuant to a “Quitclaim Deed” from Ray Warren Exley,.M.D. to Ray Warren Exley, as Trustee of the
Ray Warren Exley, M.D. Nevada Family Trust. (“First Fraudulent Transfer’).

26. The Application for Judgment by Default provides. and is supported by attached exhibits
that demonstrate. Douglas County Assessor Pareel No.1318-25-1'11-017)commonly known by its
physical address of 429 Panorama Drive. Stateline, Nevada 89449, was'fraudulently transferred in
accordance with the provisions of Nevada Revised Statute Chapter 112 — Fraudulent Transfers (Uniform
Act). on or about February 23, 2018, when title to Assessor Parcel No. 1318-25-111-017 was transferred
pursuant to a “Quitclaim Deed” from the Ray Warren Exley, M.D. Nevada l'amily Trust to Athena
Medical Group Defined Contribution Pension.Plan and Trust Number Three. (Second Fraudulent
Transfer”).

27. The Application for Judgment by Default provides, and is supported by attached exhibits
that demonstrate. Douglas‘County Assessor Parcel No. 1318-25-111-017, commonly known by its
physical address of 429 Panorama Drive. Stateline, Nevada 89449. was fraudulently transferred in
accordance with the provisions of Nevada Revised Statute Chapter 112 — Fraudulent Transfers (Uniform

Act), on or about January 22, 2021, when title to Assessor Parcel No. 1318-25-11 1-017 was transferred

JUDGMENT BY DEFAULT

 
 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 26 of 75

pursuant toa "Quit Claim Deed” from Athena Medical Group Defined Contribution Pension Plan and
Trust Number Three to Juliana Mayer loza. (*Third Fraudulent Transfer’).

28. The Application for Judgment by Default provides. and is supported by attached exhibits
that demonstrate, Douglas County Assessor Parcel No. 1318-25-11 1-017. commonly known by its
physical address of 429 Panorama Drive, Stateline, Nevada 89449, was Freudulendy transferred in
accordance with the provisions of Nevada Revised Statute Chapter] 12 — Fraudulent Shranstors (Uniform
Act), on or about March 30, 2021, when title to Assessor-Parcel-No. 1318-25-11 1-017-was transferred
pursuant to a “Quit Claim Deed” from to Juliana.Mayer Loza to Athena Medical Group Iefined
Contribution Pension Plan and Trust Number Three. (‘Fourth Baadulent Transfer”).

29. Pursuant to Nevada law. and the provisions of Nevada Revised Statute Chapter 112 -
Fraudulent Transfers (Uniform Act). the First Fraudulent Tringfer. Second lraudulent Transfer. Third
Fraudulent fransfer and Fourth Fraudulent Transfer. are all'void.

IT IS HEREBY ORDERED:

1, The May 12. 2017, transfer of title lo Douglas County Assessor Parcel No. 1318-25-111-
017, Douglas County Recorder Document No, 2017-898535, is hereby void.

2s The February 23, 2018. transfer of title to Douglas County Assessor Parcel No. 1318-25-
111+017, Douglas County Recorder Document No. 201 8-910725, is hereby void.

Be The January 22, 2021 >transfer of title to Douglas County Assessor Parcel No. 1318-25-
111-017. Douglas County Recorder Document No. 2021-960445, is hereby void.

4, The March 30.2021, transfer of title to Douglas County Assessor Parcel No. 1318-25-

NM 1-0 17.Douzlas County Recorder Document No. 2021-964432. is hereby void.

5. Douglas County Assessor Parcel No. 1318-25-11 1-017, commonly known by its physical

address of 429 Panorama Drive, Stateline. Nevada 89449, hereby reverts back and is to be titled in the

name of Ray Warren Exley, M.D.

JUDGMENT BY DEFAULT

 
ie

 

 

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 27 of 75

6. Upon any foreclosure on Douglas County Assessor Parcel No. 1318-25-1 11-017, afler
payment of monies to the foreclosing party/lender, the trustee or agent for the foreclasing party shall

deposit all remaining monies with the Ninth Judicial District Court of the Sate of Nevada in and for the

County of Douglas so that such funds may be safeguarded and deposited ina: a blocked financial

account until such time they can be properly allocated or disbursed, _

DATED this &5 day of (Bess 2021.

 

CERTIFIED Co
The document to whidh this conten, Is attached Is a

full, true and correct Griginai
jecordin aoe eopy of the Original In file and of

pare_{P— t/- 2-f ‘
BOBBIE A. WILLIAME Clerk of Court

of th Papin ge forthe County of Douglas,
st LUE? Deputy
JUDGMENT BY DEFAULT U

 
1
2
3
4
5
6
7
8
9

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

STEPHEN R, HARRIS, ESQ.
HARRIS LAW PRACTICE, LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

Case 21-50466-nmc

 

Doc 7 Entered 06/24/21 11:10:48 Page 28 of 75

EXHIBIT C

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 29 of 75

A. P. No. 1318-25-111-017
Foreclosure No. 18034

When recorded mail to:
Allied Foreclosure Services
190 W. Huffaker Lane, #408
Reno, NV 89511

 

 

 

DOUGLAS COUNTY, NV 2021-959310

Rec:$40.00
$40.00 Pgs=4 01/04/2021 09:15 AM

FIRST CENTENNIAL - RENO (MAIN OFFICE)
KAREN ELLISON, RECORDER

 

 

AFFIRMATION PURSUANT..TO
NRS 111. 312 (1) (2) AND 2398. 030(4)

Pursuant to NRS 239B. 030% the’ undersigned, hereby .
affirm(s) that the below document, including any exhibits,
hereby submitted for recording does not contain the social
security number of any person or ‘persons. |

 

NOTICE _OF TRUSTEE'S SALE

WHEREAS, “ROBERT I. NOVASEL*“and RICHARD.W. SCHWARTE, Co-
Trustees of the NOVASEL & SCHWARTE INVESTMENTS, INC. PROFIT
SHARING PLAN, are the owners and holders of that certain
obligation evidenced by a Promissory Note dated May 23,

2017, and secured by that certain real property as evidenced
by a Deed of Trust executed by RAY WARREN EXLEY, Trustee of
the RAY. WARREN EXLEY, M.D. NEVADA FAMILY TRUST, Trustor, to
FIRST AMERICAN TITLE INSURANCE CORPORATION, Trustee for
»ROBERT- I: NOVASEL and RICHARD W. SCHWARTE, Co-Trustees of

“ the NOVASEL & SCHWARTE INVESTMENTS , “INC, PROFIT SHARING
PLAN, Beneficiary,. which Deed of Trust was dated May 23,
2017, and recorded June 5, 2017,“as Document No. 2017-
-899576, Official Records,..Douglas County, Nevada; and

: WHEREAS, AUTOMATIC FUNDS TRANSFER SERVICES, INC., a
Washington corporation, dba ALLIED TRUSTEE SERVICES, was
substituted as Trustee under said Deed of Trust in the place

“. and. stead of FIRST AMERICAN INSURANCE CORPORATION, by

“document recorded April 2, 2020, as Document No. 2020-
944257, Official Records, Douglas County, Nevada; and

: “WHEREAS, défault has been made by said Trustor in the
payment of the debt evidenced by the Promissory Note for

which said Deed of Trust is security,

and the said ROBERT I.

 

LAW OFFICES OF JUDITH A. OTTO, LTD. ¢ 3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 30 of 75

NOVASEL and RICHARD W. SCHWARTE, Co-Trustees of the NOVASEL
& SCHWARTE INVESTMENTS, INC. PROFIT SHARING PLAN did cause
Notice of Default and Election To Sell under said Deed of
Trust to be recorded on September 24, 2020, as Document No.
2020-953294, Official Records, Douglas County, Nevada ; and

WHEREAS, ROBERT I. NOVASEL and RICHARD W. SCHWARTE, Co-
Trustees of the NOVASEL & SCHWARTE INVESTMENTS, INC. PROFIT
SHARING PLAN have made demand upon said Trustee that said
Trustee proceed to sell the land and premises described in
said Deed of Trust;

NOW, THEREFORE, pursuant to said demand, and” in.
accordance with the terms and under the authority of said
Deed of Trust, Said AUTOMATIC FUNDS..TRANSFER SERVICES, dba
ALLIED TRUSTEE SERVICES, as sucheTrustee,.does hereby ‘give ©
notice that on the 27th day of-UVanuary, 2021, at the hour of »
1:00 o'clock P.M. on said day, atthe front ‘entrance to the
Douglas County Courthouse located at 1038) _ Buckeye Road, in ©
Minden, Nevada, said Trustee will sell at. _public auction to
the highest bidder, for current lawful money of the United
States of America, all that certain real, property situate in
the County of Douglas. State of Nevada,” that is described as
follows: ’

That portion of.Lots 13 “&.14, Of Kingsbury Palisades as
said Lots were set forth on. the map filed in the office
of the County Recorder ‘of Douglas County, State of
Nevada, September 18, 1962, as Document No. 20864,
Official Records of Douglas County, State of Nevada,
and that portion of the Southwest 1/4 of the Northwest
1/4 of Section 25, Township 13 North, Range 18 East,
_MsD.B.&M., being a portion of Lot 11 -Kingsbury
Lakeview, “unofficial, described as follows:

“Commencing at the Southwest corner of said Lot 13, as
said Lot is set forth.on“the map of Kingsbury
Palisades; thence North 0°03'38” West 104.27 feet to a
point that lies South 0°03'38” East, 58.73 feet the
most Northerly corner of said Lot 13; thence East
117.33 feet to a point in the Westerly right of way
line of Panorama Drive; thence Southeasterly along said
right of way line along a curve concave to the

. Southeast with a central angle of 30°27'44" and a

“.yadius of 125.00 feet, an arc distance of 66.46 feet;

‘s, thence South 41.33 feet to the Southeast corner of said
“ Lot 13; thence continuing South 131.68 feet; thence

-2-

 

LAW OFFICES OF JUDITH A. OTTO, LTD. #3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 31 of 75

North 59°54’ West, 99.81 feet to a point from which the
West 1/4 corner of said Section 25, bears South 29°12’
West 1,347.78 feet; thence North 0°05’ West 132.00 feet
to the point of beginning.

NOTE (NRS 111.312): The above metes and bounds |
description appeared previously in that certain \
document recorded December June 5, 2017, in Book}, (1283,
as Instrument No. 2017-899576.

TOGETHER WITH the improvements thereon, and all and
singular the tenements, hereditaments and appurtenances.
thereunto belonging or appertaining, and. the reversion and
reversions, remainder and remainders, rents, issues and —
profits thereof. ewe os

The property address is purported. to Be 429 Panorama
Drive, Stateline, Nevada. The current outstanding principal

balance is approximately $149,932.85, which is owed together. e

with interest, late charges, advances, interest on advances,
foreclosure fees and costs, and other expenses or costs not
herein disclosed. The opening. bid’ ‘amount may be more or
less than the outstanding principal balance: as indicated.

The undersignéd disclaims any ‘liability for the
accuracy of the’ above-described address, APN, or principal
balance. Verification of “such information ‘can be requested
during normal business hours*at the office of the Trustee,
whose address is 190 W. Huffaker Lane, #408, Reno, Nevada
89511, Telephone No. (775) 851- 08813, “oe

DATED: December 29, 2020.

AUTOMATIC FUNDS TRANSFER
SERVICES, dba ALLIED TRUSTEE

BhA

By: GENEVA MARTINKUS
Its: MANAGER

 

 

LAW OFFICES OF JUDITH A. OTTO, LTD. #3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 32 of 75

STATE OF NEVADA )
)ss.
COUNTY OF WASHOE )

This instrument was acknowledged before me on December
29, 2020, by Geneva Martinkus as Manager of/for AUTOMATIC
FUNDS TRANSFER SERVICES, dba ALLIED TRUSTEE SERVICES.

Dit, Wencct

Notary Public

 

 
 
  

bn DIANE ULLESEIT | 7
fee Notary Public.~‘State of Nevada °
‘Ae weg Appointment Recorded in Washoe County |
po” Not 20-8275-02 - Expires April 19, 2024

 

 

 

 

LAW OFFICES OF JUDITH A. OTTO, LTD. ¢3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 33 of 75

 

DOUGLAS COUNTY, NV 2020-953294

Reo:$290.00
$290.00  Pgs=t1 09/24/2020 03:48 PM

FIRST CENTENNIAL - RENO (MAIN OFFICE)
KAREN ELLISON, RECORDER

 

 

 

APN No.: 1318-25-111-017
Escrow No.: 20002299-CT

Recording Requested By:

First Centennial Title Company of Nevada
896 W Nye Ln., Suite 104

Carson City, NV 89703

When Recorded Return to:
Allied Foreclosure Services
190 W. Huffaker Lane, #408
Reno, NV 89511

SPACE ABOVE FOR RECORDERS USE

 

Notice of Default: and Election to Sale
(Title of Document).

Re-recording of Substitution of Trustee-under Deed of Trust recorded or ‘April 2, 2020, as Document No.
2020-94258 to RESTART foreclosure @ proceedings

: ‘Please complete Affirmation Statement below:
1, the undersigned, hereby affirm that the attached document; including any exhibit, hereby submitted for
ecording does not contain the social security number of any person or persons. (Per NRS 2398.030)

4 sen Title aebiston
SIGNATURE TITLE»

 

Roseanne: Cusumano
Print Signature

This! page added to provide additional ‘information. required by NRS 111.312 Sections 1-2 and NRS
_ 239B.030 Section 4.

“This ¢ cover page must be typed or r printed in black ink.

SPACE BELOW FOR RECORDER
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 34 of 75

 

 

DOUGLAS COUNTY, NV 2020-944258
Ree:$290.00

$290.00 Pgs=9 04/02/2020 01:30 PM
FIRST CENTENNIAL - RENO (MAIN OFFICE)

KAREN ELLISON, RECORDER

 

A. P. No. 1318-25-111-017
Foreclosure No. 18034

When recorded mail to:
Allied Foreclosure Services
190 W. Huffaker Lane, #408
Reno, NV 83511

 

AFFIRMATION’ PURSUANT TO.

NRS lil. 312 (2)42) AND 2398.

030(4) |

Pursuant to NRS 2398. 030, the undersigned, hereby
affirm(s) that the below document, * ‘dneluding any exhibits,
hereby submitted for recording ‘does not contain the social

security number of any person or persons »

NOTICE OF DEFAULT

 

“AND ~ ELECTION, TO SELL

TO WHOM rt MAY, CONCERN:

*y

WHEREAS, on May 23, 2017, RAY, WARREN EXLEY, Trustee of

the RAY WARREN BEXLEY, M.D. NEVADA FAMILY

TRUST, executed as

Trustor a Deed of Trust with Assignment of Rents, wherein
FIRST AMERICAN TITLE INSURANCE CORPORATION, is Trustee for
“ ROBERTI. NOVASEL " ‘and RICHARD W. SCHWARTE, Co-Trustees of

the” NOVASEL & “SCHWARTE INVESTMENTS, INC.

PROFIT SHARING

“PLAN, Beneficiary, as security | for the payment of a
Promissory Note made, executed’ and @elivered on May 23,
2017, which said Déed of Trust was’ “recorded June 5, 2017, as
Document No. 2017-8995746, Offielal Records, Douglas County,

Nevada; and

WHEREAS , there have been no endorsements to the Note or
Assignments of the beneficial interest of the Deed of Trust;

and

_ WHEREAS, the ‘undereiguea is in actual or constructive
possegsion of. ‘the original Note secured by the Deed of

Trust ard”

 

LAW OFFICES OF JUDITH A. OTTO, LTD. #3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 35 of 75

 

Recorded lectronically
VAR = Lif 29 Sx

 
   

s mplifla.c com 800.460.5657

 

 

 

A. P. No. 1318-25-111-017
Foreclosure No. 18034

When recorded mail to:
Allied Foreclosure Services
190 W. Huffaker Lane, #408
Reno, NV 89511

 

AFFIRMATION PURSUANT. TO
NRS 111. 322 (1) (2) “AND. 2398. 030 (4)

Pursuant to NRS 2398. 030, the undersigned, _ hereby
affirm(s) that the below document ,: _ineluding any exhibits,
hereby submitted for recording’ does® not contain the social
security number of any person oxpersons ., :

NOTICE OR DEFRAY
AND ELECTION. TO SELL

 

TO WHOM IT MAY CONCERN:

WHEREAS on. “May 23, 2017, RAY" WARREN EXLEY, Trustee of
the RAY WARREN EXLEY, M.D. NEVADA FAMILY TRUST, executed as
Trustor a.Deed, of Trust with Assignment of Rents, wherein
FIRST AMERICAN “TITLE INSURANCE CORPORATION, is Trustee for
ROBERTI. NOVASEL and..RICHARD W. SCHWARTE, Co-Trustees of
* the NOVASEL & SCHWARTE INVESTMENTS , INC. PROFIT SHARING
PLAN, Beneficiary, as security for the payment of a
Promissory Note made, “executed and delivered on May 23,
2017, which said Deed of Trust*was recorded June 5, 2017, as
Document No. 2017-899576, Official Records, Douglas County,
Nevada ; and -_

, WHEREAS, there; have been no endorsements to the Note or
Assignments of the, beneficial interest of the Deed of Trust;
and %

WHEREAS, “the undersigned is in actual or constructive
possession of the original Note secured by the Deed of
Trust; and

 

LAW OFFICES OF JUDITH A. OTTO, LTD, #3748 LARESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 895069
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 36 of 75

WHEREAS, AUTOMATIC FUNDS TRANSFER SERVICES, INC., a
Washington corporation, dba ALLIED TRUSTEE SERVICES, was
substituted as Trustee under said Deed of Trust, in the place
and stead of FIRST AMERICAN TITLE INSURANCE CORPORATION, a
Nebraska corporation, by document recorded concurrently |
herewith; and

WHEREAS, AUTOMATIC FUNDS TRANSFER SERVICES, INC. dha
ALLIED TRUSTEE SERVICES, has the authority to exercise the
power of sale with respect to the property’ encumbered by the
Deed of Trust pursuant to the instruction of the ~~
undersigned; and

WHEREAS, a breach of the obligation for which said™
transfer in trust as security was*made has occurred in chat
default has been made in the fatlure’to pay the installment
of principal and interest due.on February 1, 2019, and in
the failure to pay each such’ monthly installment that
thereafter became due, in the. failure to pay the real
property taxes for the fiscal year 2019-2020; and in the
failure to perform any other term, covenant or’ condition
contained in the Deed of Trust securing..the Promissory Note
and to be performed.by Trustor, whether such failure to
perform occurred prior to or subsequent to-.the date hereof,
together with penalties” ‘and advances: that have been incurred
or made or wild be: incurred or made during the period of
default; é : ;

NOTICE ts HEREBY GIVEN that the undersigned has elected
to consider all of the unpaid balance of principal and
interest to be due in consequence of said default, together
with. attorney's fees and costs that have been incurred and
will hereafter accrue, all in accordance with the terms of
said Protiissory Note and Deed of Trust, and the undersigned

*has~elected to sell or cause to be sold the real property
commonly known as 429 Pandrama” Drive, Stateline, Nevada, and
described in said Deed. et Trust to ‘satisfy said obligation.

To obtain further information with respect to this
Notice of Default and Election To Sell, contact the
Foreclosure Office of Foreclosure Office of Allied

% Foreclosure Services, 190 W. Huffaker Lane, #408, Reno,
Nevada 89511, Telephone No. (775) 851-0881, between the
hhours’.of 9:00 A.M» and 5:00 P.M., Monday through Friday.

 

LAW OFFICES OF JUDITH A, OTTO, LTD, ¢ 3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 37 of 75

Attached hereto is the Affidavit of Authority to
Exercise the Power of Sale and Declaration of wort gage
Servicer which are hereby incorporated herein by this »
reference. /

The Beneficiary represents that the property encumbered
by the above Deed of Trust is occupied by tenants and. is, NOT
occupied by the owners of the property.

DATED; B/(F , 2020.

BENEFICIARY:

Robert I. “Novasel,
Co- Trustee ~

 

 

  
 
  

STATE OF

COUNTY OF

 

 

 

LAW OFFICES OF JUDITH A. OTTO, LTD. ¢ 3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 38 of 75

 

 

ACKNOWLEDGMENT

 

A notary public or other officer completing this
certificate verifies anly the identity of the individual
who signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or
validity of that document.

 

 

 

State of California
County of El Dorado )

On 3/17/2020 before me, Pau! E, Sullivan, notary public
(insert name and title of the officer)

 

 

personally appeared Robert I, Novasel~”

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) islare
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

| certify under PENALTY: OF PERJURY under, the laws of the State of California that the foregoing
paragraph is true and. correct. a . .

    
    

PAUL E, SULLIVAN
Notary Public - California
El Berado County
Commission # 2270158

fut E. 2 wh; Va \) ee

  

 
    

WITNESS my hand and offical seal. z

  

 

Signature:

 

 
A.

Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 39 of 75

P. No. 1318-25-111-017

Foreclosure No. 18034

 

AFFIDAVIT OF AUTHORITY TO EXERCISE ‘THE

POWER OF SALE .
(NRS 107.0805 (1) (b) (3) Compliance Atfidavit)

 

Property Owners: Trustee ‘Address: *s
RAY WARREN EXLEY, Trustee  Allied.Foreclosure Services
of the RAY WARREN EXLEY, “ 190 W. Huffaker Lane, #408
M.D. NEVADA FAMILY TRUST ra “ ‘Reno , NV “BOSLL

Property Address: Se Deed of Trust Document

429 Panorama Drive “ Instrument Number:
Kingsbury Grade, Stateline 2017-899576

Nevada ™ oe (Douglas.County)

  

: “\gsr
COUNTY OF | ‘

The undersigned affiant, being first duly sworn
upon Oath, based on direct personal knowledge, or the

~ personal knowledge which the affiant acquired by a

review of the business records. of the beneficiary, the

successor in interest.of the.. beneficiary or the
' servicer of the obligation or debt secured by the deed

of trust, and under> penalty of perjury does hereby
attest as follows:

. The full name and business address of the current

\ trustee or the current trustee’s personal

“yepresentative or assignee is:

“Allied Foreclosure Services
.. 190°W...Huffaker Lane, #408
“Reno, NV 89511

 

LAW OFFICES OF JUDITH A. OTTO, LTD, ¢ 3748 LAKESIDE DRIVE, SUITE 102 © RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 40 of 75

The full name and business address of the current
holder of the note secured by the Deed of Trust is:

ROBERT I. NOVASEL, Co-Trustee of the
NOVASEL & SCHWARTE INVESTMENTS, INC.
PROFIT SHARING PLAN

3/110 Higher 50 Sete 10 Soil debe rae Oh Peesg

RICHARD W. SCHWARTE, Co-Trustee of the .

NOVASEL & SCHWARTE INVESTMENTS; “INC?
PROFIT SHARING PLAN

31720 Melita 50, Bache
Sa lh co he Tote Ch Fuisd

The full name and business address. of. the current
beneficiary of record, Of the Deed of Trust is:

 

ROBERT I. NOVASEL,. Co- Trustee of ‘the ~
NOVASEL & SCHWARTE INVESTMENTS, INC.
PROFIT SHARING PLAN

GF Ded db Wawra
te Ale uso SO, Sef lo, 6, Seat telralee Ck 76/50

RICHARD We \SCHWARTE, Co- Trustee of the

“NOVASEL & SCHWARTE INVESTMENTS , JINc,
PROFIT SHARING. ‘PLAN

3/70 Hea besvan SO suche 0
South Kl hoe, Yb9 4/7

 

The full name and business address of the current

s, servicer of the obligation or debt secured by the Deed
of ‘Trust’ ‘is:

 

LAW OFFICES OF JUDITH A, OTTO, LTD. #3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 41 of 75

t

ROBERT I. NOVASEL and

RICHARD W. SCHWARTE, Co-Trustees

of the NOVASEL & SCHWARTE INVESTMENTS, INC.
PROFIT SHARING PLAN

@___?-> BD \hrrcf
3170 Nite htea, SO, Seve (0) SabhdoliTahety 049 76 /0

2. The beneficiary under the Deed of Trust, the: successor |
in interest of the beneficiary, or the» trustee, Iisein —
actual or constructive possession of the note secured
by the Deed of Trust; or the beneficiary, its a,
successor in interest, or the trustee is»entitled to
enforce the obligation or debt secured by! the Deed of
Trust. ‘ 4 .

 

3. The Beneficiary, its sucdessor. in interest, the
servicer of the obligation*or debt secured by deed of
trust, the trustee, or an attorney representing any of
those persons, has sent to the. obligor’ or borrower of
the obligation or debt secured by the Deed of Trust a
written statement Of: ‘ “

(I) The amount” “of ‘Rayment ‘wequixdd to” make good the
deficiency in performance or payment, avoid the
exercise of the power, of sale and reinstate the
terms and conditions of the underlying obligation
or debt existing before the deficiency in
performance or payment, as of the date of the
statement; '

ot (II). The ‘amount in default; |

(III) The principal amount of the vobligation or debt

a secured by ‘the deed of trust.

(IV) The amount of-accrued. interest and late charges;

(Vv) A good faith estimate ofall fees imposed in
connection with | the exercise of the power of
sale; and

(VI) Contact information for obtaining the most
current amounts due and the local or toll-free
telephone ‘number described in subparagraph (4).

* 4, The local or toll-free telephone number that may be
» called by the obligor or borrower of the obligation or
“debt to..received the most current amounts due and a
recitation of the information contained in this affidavit

is: / 999 734%/02

 

LAW OFFICES OF JUDITH A, OTTO, LTD. ¢ 3748 LAICESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 42 of 75

5. The date and the recordation number, and the name of each
assignee under, each recorded assignment of the deed af
trust which information is based on the knowledge .or
information as described in NRS 107.0805 (1) (b) (5) (I-IV),
is provided as follows: C4

There are no assignments of record.

6. The affiant acknowledges that they understand that |
recording a false affidavit that they Know~or have |
reason to know if forged or groundless, contains~a.
Material misstatement or false claim or is- otherwise
invalid constitutes a felony in the. State of Nevada,
under NRS 205. Sh

Dated this (7% day of March. ‘ 2020.

Affiant Name: ROBERT I. = co-taupeed

 
 
 
 
 
 
  
  
 
  

 

Signed Bye ia ae <. w/. 2

Print Name: ROBERT a _NOVASEL, Coe ‘Trustee

STATE OF
COUNTY OF

On-this = day of ©
“personally appeared be

£7 OBER INVESTMENTS,
"known. to me to be the |

    
  

to me” ‘that he/she executed the same
voluntarily and for the uses and purposes

 

NOTARY PUBLIC IN AND FOR
SAID COUNTY AND STATE

6 ‘ce Abecle acknollehsmmenX

LAW OFFICES OF JUDITH A, OTTO, LTD. ¢ 3748 LAKESIDE DRIVE, SUITE 102 ¢ RENO, NEVADA 89509

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 43 of 75

 

 

ACKNOWLEDGMENT

 

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or
validity of that document.

 

 

 

State of California
County of El Dorado )

 

on _ 3/17/2020 before me, Paul E. Sullivan, notary public -
"(insert name and title of the officer) »

 

 

personally appeared _ Robert I. Novasel”

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) islare
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their.signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) -acted, executed the instrument.

+

| certify under PENALTY: OF PERJURY under. the laws’ of the State of California that the foregoing
paragraph is true and. correct. - ‘,

PAUL £, SULLIVAN

WITNESS my hand and official seal. nO (es ine Notary bic conte Z

Commission # 2270158

Salbitan ‘ \ SEE” My Comm, Expires Dec 8, 2022
Signature of ful E: (S09

 

 

 

 
Oo CO SJ DW WH BP WC NHN

NO NO NO NO NO RD NR DD hee
Ss BW OH BP WO NH !&— DS OO COC YD DB NW fF WO HO KH O

28

STEPHEN 8. HARRIS, ESQ,
HARRIS LAW PRACTICE, LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
‘TELEPHONE: (775) 786-7600

Case 21-50466-nmc

 

 

Doc 7 Entered 06/24/21 11:10:48 Page 44 of 75

EXHIBIT D

 
Case 21-50466-nmc Doc 7

Parcel ID Number: 1318-25-111-017

Recording Requested by:
Leverty & Associates Law, Chtd.
832 Willow Street

Reno, NV 89502

When Recorded Mail to:
Leverty & Associates Law, Chtd.
832 Willow Street

Reno, NV 89502

Mail Tax Statement to:

Leverty & Associates Law, Chtd.
832 Willow Street

Reno, NV 89502

Entered 06/24/21 11:10:48 Page 45 of 75

 

DOUGLAS COUNTY, NV 2021-960418

Rec:$40.00
$40.00 Pgs=4 01/22/2021 08:47 AM

| FIRST CENTENNIAL - RENO (MAIN OFFICE)
KAREN ELLISON, RECORDER

 

 

 

NOTE — This Assignment should be kept with the Note and Deed of Trust hereby assigned. So

ASSIGNMENT OF. DEED OF TRUST

Novasel & Schwarte Investments, Inc. ‘Profit Sharing P Plan; owners. sand holders ‘ofce certain obligation
evidenced by promissory note, dated May 23,2017 secured by: certain'real property described below
as evidenced by a Deed or’ Trust executed by. Ray Warren Exley, M:D., Nevada Family Trust,
Trustor, First American Title Insurance Corporation, Trustee for Robert I. Novasel and Richard W.
Schwarte, Co-Trustees of the Novasel & Schwarte Investments, Inc. Profit Sharing Plan, Beneficiary,
which Deed of Trust was dated May 23, 2017, and recorded June 5, 2017, as Document No.
2017-899576; Official, Records, Douglas County, Nevada; hereby assign, grants, assigns and
transfers all interest including all beneficial interest to 9 Leverty & Associates Law Chtd., a Nevada

Corporation:

as PROPERTY DESCRIPTION:

That portion of Lots 13 & 14, of Kingsbury Palisades as said Lots were set forth on

_ the map filed in the office-of the County Recorder of Douglas County, State of
». Nevada, September 18, 1962, as Document No. 20864, Official Records of Douglas
'.County, State of Nevada, and that portion of the Southwest 1/4 of the Northwest 1/4

.. of Section 25, Township 13'North, Range 18 East, M.D.B.&M., being a portion of
Ss, Lot 1 Kingsbury Lakeview, unofficial, described as follows:

Comimencing at the Southwest comer of said Lot 13, as said Lot is set forth on the
map of Kingsbury Palisades; thence North 0°03'38" West 104.27 feet to a point that

-l-
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 46 of 75

lies South 0°03'38" East, 58.73 feet the most Northerly corner of said Lot 13; thence
East 117.33 feet to a point in the Westerly right of way line of Panorama Drive;
thence Southeasterly along said right of way line along a curve concave to the
Southeast with a central angle of 30°27'44" and a radius of 125.00 feet, an arc
distance of 66.46 feet; thence South 41.33 feet to the Southeast corner of.said Lot
13; thence continuing South 131.68 feet; thence North 39°54' West, 99. 81. feet to
a point from which the West 1/4 corner of said Section 25, bears South 29° 12! West
1,347.78 feet; thence North 0°05' West 132.00 feet to the point of beginning,

NOTE (NRS 111.312) : The above metes and bounds description appeared
previously in that certain document recorded December’ June_5, 2017, in Book
1283, as Instrument No. 2017-899576. Poca |

TOGETHER WITH the improvements thereon, and all-and singular the tenements, |
hereditaments and appurtenances thereunto” belonging or’ appertaining, and the
reversion and reversions, remainder and remainders, rents, i issues and profits thereof...

Automatic Funds Transfer Services, Inc.,a Washington corporation, dba Allied Trustee
Services, was substituted as Trustee, under said Deed of Trust, in the place and stead of First
American Insurance Corporation by document. recorded | April 2; 2020, as Document No.
2020-944257, Official Records, Douglas County, Nevada.»

DATED this [ 2% LF day of : Dina. 2021.

ROBERT NOVASEL
Co-Trusteg of. the Novasel & Schwarte Investment, Inc. Profi Sharing Plan

 

   
  
    

STATE OFNEVADA © >
“COUNTY OF DOUGLAS ) _

This instrument was

P| owledged before the on the ___dayof , 2021,
_ by ROBERT IL NOV _—

 

NOTARY PUBLIC ©

See. aftzdeh achrovildgment
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 47 of 75

DATED is l3 day of January - , 2021.
VK lel (ar Amt

RICHARD W. SCHWARTE oY
Co-Trustee of the Novasel & Schwarte Investments, Inc. Profit Sharing Plan if

STATE OF NEVADA _ )

     
 
 

COUNTY OF DOUGLAS )

This instrument was acknowledge , 2021,

by RICHARD W. SCHWARTE.

 

NOTARY PLBLIC

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 48 of 75

 

 

ACKNOWLEDGMENT

 

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or
validity of that document.

 

 

 

State of California
County of El Dorado )

 

On 1-13-2021 before me, Paul-E Sullivan, notary public ~~.
~ (insert name and title of the officer)

 

 

personally appeared _ Robert I Novasel and Richard W. Schwarte. .
who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) islate™
subscribed to the within instrument and acknowledged to me that:he/she/they executed the same in

his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s). acted, executed the instrument.

| certify under PENALTY OF" PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct. =. .

“s, , . 4 PAUL E. SULLIVAN
Me ‘sy cams lotary Public - California

WITNESS my hand and official seal. % pean EiDorada County =

Commission #2270158 =

foe S Ly 4 “oe My Comm. Expires Dec 8, 2022
Signature . Godt E Vint ean

 

 

 

 
1
2
3
4
5
6
7
8
9

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

STEPHEN R, HARRIS, ESQ,
HARRIS LAW PRACTICE, LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

Case 21-50466-nmc

 

Doc 7 Entered 06/24/21 11:10:48 Page 49 of 75

EXHIBIT E

 
Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 50 of 75

DOUGLAS COUNTY, NV 2021-969515

 

 

 

 

 

 

 

 

 

 

Rec:$40.00

Total:$40.00 06/22/2021 03:03 PM

JULIANA L. LOZA Pgs=4
“eee AU AU A
RECORDING REQUESTED BY and . 00137167202109695150040041

AFTER RECORDING MAIL THIS DOCUMENT TO:
Juliana Mayer Loza

c/o Gordon Gordon Lawyers

1200 Wilshire Blvd., Suite #608

Los Angeles, CA 90017

KAREN ELLISON, RECORDER E07

MAIL TAX STATEMENTS TO GRANTEE:
Juliana Mayer Loza

c/o Gordon Gordon Lawyers

1200 Wilshire Blvd., Suite #608

Los Angeles, CA 90017

 

I the undersigned hereby affirm that this document submitted for recording docs not contain the social security number of any
person or persons. (Per NRS 239B, 030)

 

QUIT CLAIM DEED

A default Judgment, entered in Douglas County District Court case number 2021-CV-
00057, purported to vest title with RAY WARREN EXLEY, deceased. Juliana Mayer Loza,
Special Administrator, of the Estate of RAY WARREN EXLEY contests the validity of the
default judgment and contends that legal title remains vested with The ATHENA MEDICAL
GROUP DEFINED CONTRIBUTION PENSION PLAN AND TRUST Number Three.
Therefore, Juliana Mayer Loza does hereby QUIT CLAIM any interest which the Estate may
have to The ATHENA MEDICAL GROUP DEFINED CONTRIBUTION PENSION PLAN
AND TRUST Number Three in and to real property Assessor's Parcel No. 1318-25-111-014, real
property situated in the County of Douglas, State of Nevada, commonly known by its physical
address: 429 Panorama Drive, Stateline, Nevada 89449, more particularly described as follows:

COMMENCING at the Southwest corner of said Lot 13, as said Lot is set
forth on the map of Kingsbury Palisades; thence North 0°03'38" East, 58.73 feet the
most Northerly corner of said Lot 13; thence East 117.33 feet to a point in the
Westerly right of way line of Panorama Drive; thence Southeasterly along said right
of way line along a curve concave to the Southeast with a central angle of 30°27'44"
and a radius of 125.00 feet, and arc distance of 66.46 feet; thence South 41.33 feet
to the Southeast corner of said Lot 13; thence continuing South 131.68 feet; thence
North 89°54' West, 99.81 feet to a point from which the West 1/4 corner of said
Section 25, bears South 29°12' West 1,347.78 feet; thence North 0°05' West132.00

feet to the point of beginning.
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 51 of 75

RESERVING therefrom that portion lying in the Southwest 1/4 of the
Northwest 1/4of Section 25, Township 13 North, Range 18 East, M.D.B. & M., all
of the minerals and mineral ores of any kind, nature and description, on or beneath
the surface of said land and of the right to mine and remove said minerals and
mineral ores as reserve in the deed from Clover Valley Lumber Co,, a Nevada
Corporation, to H.E. West, recorded December 22, 1947, in Book Y of Deeds, Page
321, Douglas Nevada. APN: 1318-25-111-014

Together with all and singular the tenements, hereditaments and appurtenances thereunto
belonging or in anywise appertaining, and any reversions, remainders, rents, issues or profits

thereof.
This legal description was previously recorded 03/30/2021 as Document No. 2021-910723.

The undersigned Grantor declares:

Documentary transfer tax is $0.00. This conveyance is a transfer of title to a Tax Exempt
ERISA Trust.

Dated: This “2,2 day of June, 2021 in Minden, Douglas County, Nevada.

Castle an \

suhana Mayer Me ca dministrator, of the Estate
of RAY WARREN EXLEY
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 52 of 75

CERTIFICATE OF ACKNOWLEDGEMENT OF NOTARY PUBLIC

 

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the
truthfulness, accuracy, or validity of that document.

 

 

 

STATE OF NEVADA )
) Ss:
COUNTY OF DOUGLAS )

On June 2a, AoA _beforeme [LIS a Apel c
notary public, personally appeared Juliana Mayer Loza, Special Administrator, of the Estate of
RAY WARREN EXLEY who proved to me on the basis of satisfactory evidence to be the person

whose name is subscribed to the within Que t Cloim Decal and acknowledged to

 

me that she executed same in her authorized capacity, and that by her signature on the instrument

the person, or the entity upon behalf of which the person acted, executed the instrument

I certify under PENALTY of PERJURY under the laws of the State of Nevada that the forgoing

paragraph is true and correct.

 
  
    
  

 
 

NOTARY PUBLIC
STATE OF NEVADA
ys County of Douglas
00-62875-5 LISA APPLE

My Appointment Expires Saptember 8, 2024
SSSSSDSSSSSES

WITNESS my hand and official seal.

yan (ua ple

     
    
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 53 of 75

STATE OF NEVADA
DECLARATION OF VALUE
1. Assessor Parcel Number(s)
a) 1318-25-111-017
b)
c)
dj

2. Type of Property:
a) Vacant Land ed Single Fam, Res.

 

 

 

c){_| Condo/Twnhse d)j_| 2-4 Plex FOR RECORDERS OPTIONAL USE ONLY

©) py Apt. Bide Df Comm'tiind’ DATE OF WORDING.

g) Agricultural —h) Mobile Home NOTESe3 PP 4 ————~
i) (| Other Z, Wied CE =f

 

 

 

 

3, Total Value/Sales Price of Property: 5
Deed in Lieu of Foreclosure Only (value of property)
Transfer Tax Value: $
Real Property Transfer Tax Due: $

 

 

 

4, IfExemption Claimed:
a. Transfer Tax Exemption per NRS 375.090, Section #7
b. Explain Reason for Exemption: A transfer of title to or from a trust without consideration

 

5. Partial Interest: Percentage being transferred: ss %

The undersigned declares and acknowledges, under penalty of perjury, pursuant to NRS 375.060 and NRS
375.110, that the information provided is correct to the best of their information and belief, and can be
supported by documentation if called upon to substantiate the information provided herein. Furthermore, the
patties agree that disallowance of any claimed exemption, or other determination of additional tax due, may
result in a penalty of 10% of the tax due plus interest at 1% per month.

La 375.030, the Buyer and Seller shall be jointly and severally liable for any additional amount owed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signatt Capacity Grantor
Signature Capacity
¥
SELLER (GRANTOR) INFORMATION BUYER (GRANTEE) INFORMATION
(REQUIRED) (REQUIRED)

Print Name; Juliana Mayer Loza Print Name: Ingrid van Vuerings, Trustee
Address: (QS SHUT 57) le fod Address: 195 Hwy 50 Ste 104, P.M.B,7172-262
City: <fole ha ~ iN City; Stateline
State: 1) 4 Zip: Cosy cep & State: NV Zip: 89449-7172

ey SOF e Ese

COMPANY/PERSON REQUESTING RECORDING
(required if not the seller or buyer)
Print Name: Gene M. Kaufmann Esq., Sullivan Law Escrow #
Address: 1625 State Route 88, Ste. 401
City: Minden State: NV_ Zip; 89423
(AS A PUBLIC RECORD THIS FORM MAY BE RECORDED/MICROFILMED)

 

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 54 of 75

DOUGLAS COUNTY, NV =. 9994.969516

Rec:$40.00

Total'$40.00 06/22/2021 03:03 PM

JULIANA L, LOZA Pgs=4
eee “TUM TM at

 

 

 

 

 

 

 

 

 

 

RECORDING REQUESTED BY and

AFTER RECORDING MAIL THIS DOCUMENT TO:
Gene M. Kaufmann, Esq.

SULLIVAN LAW

1625 State Route 88, Suite 401

Minden, NV 89423

KAREN ELLISON, RECORDER

MAIL TAX STATEMENTS TO GRANTEE:
Juliana Mayer Loza

c/o Gordon Gordon Lawyers

1200 Wilshire Blvd., Suite #608

Los Angeles, CA 90017

 

I the undersigned hereby affirm that this document submitted for recording does not contain the social security number of any
person or persons. (Per NRS 239B. 030)

 

QUIT CLAIM DEED

The ATHENA MEDICAL GROUP DEFINED CONTRIBUTION PENSION PLAN
AND TRUST Number Three by and through its Trustee Committee and the Board of Directors
of its sponsoring corporation, herein by and through its Co-Trustee and Corporate
Officer/Secretary Ingrid van Vuerings, having determined by unanimous consent in
consideration of the Distribution of some of her entitled ERISA Plan Benefits, does hereby
QUIT CLAIM to Juliana Mayer Loza an individual, all rights, title and interest of the
undersigned in and to real property Assessor's Parcel No. 1318-25-111-014, real property
situated in the County of Douglas, State of Nevada, commonly known by its physical address:

429 Panorama Drive, Stateline, Nevada 89449,more particularly described as follows:

COMMENCING at the Southwest corner of said Lot 13, as said Lot is set
forth on the map of Kingsbury Palisades; thence North 0°03'38" East, 58.73 feet
the most Northerly corner of said Lot 13; thence East 117.33 feet to a point in the
Westerly right of way line of Panorama Drive; thence Southeasterly along said
right of way line along a curve concave to the Southeast with a central angle of
30°27'44" and a radius of 125.00 feet, and arc distance of 66.46 feet; thence South
41.33 feet to the Southeast corner of said Lot 13; thence continuing South 131.68
feet; thence North 89°54' West, 99.81 feet to a point from which the West 1/4
corner of said Section 25, bears South 29°12' West 1,347.78 feet; thence North
0°05' West132.00 feet to the point of beginning.
Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 55 of 75

RESERVING therefrom that portion lying in the Southwest 1/4 of the
Northwest 1/4of Section 25, Township 13 North, Range 18 East, M.D.B. & M., all
of the minerals and mineral ores of any kind, nature and description, on or beneath
the surface of said land and of the right to mine and remove said minerals and
mineral ores as reserve in the deed from Clover Valley Lumber Co,, a Nevada
Corporation, to H.E. West, recorded December 22, 1947, in Book Y of Deeds,
Page 321, Douglas Nevada. APN: 1318-25-111-014

Together with all and singular the tenements, hereditaments and appurtenances thereunto
belonging or in anywise appertaining, and any reversions, remainders, rents, issues or profits

thereof.

This legal description was previously recorded 03/30/2021 as Document No. 2021-
964432.

The undersigned Grantor declares:

Documentary transfer tax is $0.00. This conveyance is a transfer of title from a Tax Exempt
ERISA Trust.

Dated: This 4 I day of June, 2021 in Los Angeles County California. USA

 

 

Ingrid van Vuerings, Co-Trustee
the ATHENA MEDICAL GROUP DEFINED
CONTRIBUTION PENSION PLAN AND
TRUST Number Three and Corporate Officer of the
Athena Medical Group, Inc., (Nevada)
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 56 of 75

CERTIFICATE OF ACKNOWLEDGEMENT OF NOTARY PUBLIC

 

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the
truthfulness, accuracy, or validity of that document.

 

 

 

STATE OF CALIFORNIA
Ss:

Ne ne See”

COUNTY OF LOS ANGELES

On ol _ySAne. Geof before me | leka ind VAL a e (se C /

notary public, personally appeared Ingrid van Vuerings who proved to me on the ‘basis of

 

 

satisfactory evidence to be the person whose name is subscribed to the within
Vr + C lai an Deed and acknowledged to me that she executed same in her

authorized capacity, and that by her signature on the instrument the person, or the entity upon

 

behalf of which the person acted, executed the instrument.

I certify under PENALTY of PERJURY under the laws of the State of California that the

forgoing paragraph is true and correct.

WITNESS my hand and official seal.

 

 

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 57 of 75

 

 

 

STATE OF NEVADA
DECLARATION OF VALUE
1. Assessor Parcel Number(s)
a) 1318-25-111-017
b)
c)
d)

 

2. Type of Property:
a)[_] Vacant Land b)|v] Single Fam. Res.

 

 

 

c)[_] Condo/Twnhse d)|_ | 2-4 Plex FOR RECORDERS OPTIONAL USE ONLY

e) Lad Apt. Bldg f)} | Comm’ I/Ind’| BOOK _PAGE

g) Led Agricultural h)|_| Mobile Home NOTES. i) aay aa
i) LJ Other MAW OP OF

 

 

 

 

3. Total Value/Sales Price of Property: $
Deed in Lieu of Foreclosure Only (value of property) (
Transfer Tax Value: $
Real Property Transfer Tax Due: $

 

 

 

4. IfExemption Claimed:
a. Transfer Tax Exemption per NRS 375.090, Section #7

b. Explain Reason for Exemption: A transfer of title to or from a trust without consideration

 

 

5. Partial Interest: Percentage being transferred: ___ %

The undersigned declares and acknowledges, under penalty of perjury, pursuant to NRS 375.060 and NRS
375.110, that the information provided is correct to the best of their information and belief, and can be
supported by documentation if called upon to substantiate the information provided herein. Furthermore, the
parties agree that disallowance of any claimed exemption, or other determination of additional tax due, may
result in a penalty of 10% of the tax due plus interest at 1% per month.

Pursuant tp N 75,030, the Buyer and Seller shall be jointly and severally liable for any additional amount owed.
Signature \ Capacity Gr antof\ ;

 

 

 

 

 

 

 

 

 

 

 

 

TON
Signature Capacity
SELLER (GRANTOR) INFORMATION BUYER (GRANTEE) INFORMATION

(REQUIRED) (REQUIRED)
Print Name: Ingrid van Vuerings, Trustee Print Name: Juliana Mayer Loza
Address: 195 Hwy 50 Ste 104, P.M.B.7172-262 Address: | QS thin PO He 1OY
City: Stateline Ciy: Oylfo (ihe.
State: NV Zip: 89449-7172 State: eel Zip! YY %

COMPANY/PERSON REQUESTING RECORDING
(required if not the seller or buyer)
Print Name: Gene M. Kaufmann Esq., Sullivan Law Escrow #
Address: 1625 State Route 88, Ste. 401
City: Minden State: NV Zip: 89423
(AS A PUBLIC RECORD THIS FORM MAY BE RECORDED/MICROFILMED)

 

 
oO CO NSN DW WA Be DR NO ee

BR KN NO RO BRD ND RD ORD mes
SI DN A FP WY NO K|& DB OO CO HFT DB A BP WO HNO KF CS

28

STEPHEN R. HARRIS, ESQ,
HARRIS LAW PRACTICE, LLC
6151 LAKESIDE DRIVE
SUITE 2100
RENO, NEVADA 89511
TELEPHONE: (775) 786-7600

 

Case 21-50466-nmc

 

Doc 7 Entered 06/24/21 11:10:48 Page 58 of 75

EXHIBIT F

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 59 of 75

Steve Harris

 

ssamuspenanans ee esanaes nT
From: Steve Harris
Sent: Tuesday, June 22, 2021 7:04 PM
To: geneva@allied103 1exchange.net
Ce: gene@levertylaw.com; bill@levertylaw.com
Subject: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive,
Stateline, NV 89449
Attachments: doc002 144202 10622190144. pdf
Importance: High

All,

Enclosed please find correspondence for your immediate review to advise you that the bankruptcy automatic stay is in
effect with respect to any foreclosure sale of the above-referenced property.

Thank you,
Steve Harris

Stephen R. Harris, Esq.
Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600
steve@harrislawreno.com
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 60 of 75

HARRIS LAW PRACTICE LLC
ATTORNEY AND COUNSELOR AT LAW

STEPHEN R. HARRIS, ESQ.
6151 LAKESIDE DRIVE, SUITE 2100
RENO, NEVADA 89511
(775) 786-7600
steve@harrislawreno.com

June 22, 2021

Via Email- peneva@allied1 03 lexchange.net — and -
Facsimile- 888-313-0021

Allied Foreclosure Services

190 W. Huffaker Lake, #408

Reno, NV 89511

Re: Juliana Mayer Loza Chapter 13 BK-21-50466-btb
APN: 1318-25-111-017- 425 Panorama Drive, Stateline, NV 89449

To Whom It May Concern:

This law firm represents Juliana Mayer Loza in a Chapter 13 bankruptcy case filed in the
United States Bankruptcy Court, Reno, Nevada, on June 22, 2021. Enclosed please find a copy
of the Notice of Bankruptcy Case Filing.

In that regard, it is our understanding that a trustee’s foreclosure sale is scheduled to occur
on Wednesday, June 23, 2021, with respect to the Debtor’s real property located at 425 Panorama
Drive, Stateline, NV 89449, identified as your Foreclosure No. 18034.

Also enclosed herewith are two (2) Quit Claim Deeds recorded in Douglas County, State
of Nevada, showing the subject real property title in Ms. Loza’s name. Ms. Loza also has a
beneficial interest in the Athena Medical Group Defined Contribution Pension Plan and Trust
Number Three.

Due to Ms. Loza’s Chapter 13 filing, the 11 U.S.C. §362(a) bankruptcy automatic stay is
in effect as to any pending collection or foreclosure actions. Please confirm that your scheduled
trustee’s foreclosure sale will not take place as currently scheduled.

Thank you.

Very truly yours,
/s/ Stephen R. Harris
STEPHEN R. HARRIS, ESQ.
Encl.
CC: Leverty & Associates Law, CHTD.,
Attn: Vernon E. Leverty, Esq. and William R. Ginn, Esq.(via email)
Juliana Mayer Loza (via email)
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 61 of 75
LIVE ECF Page 1 of 2

United States Bankruptcy Court
District of Nevada

Notice of Bankruptcy Case Filing

A bankruptcy case concerning the debtor(s) listed below was
filed under Chapter 13 of the United States Bankruptcy Code,
entered on 06/22/2021 at 6:18 PM and filed on 06/22/2021.

JULIANA MAYER LOZA
429 PANORAMA DRIVE
STATELINE, NV 89449

 

The case was filed by the debtor's attorney:

STEPHEN R HARRIS
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DR, STE 2100
RENO, NV 89511

(775) 786-7600

The case was assigned case number 21-50466.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our /nternet home page http://www.nvb.uscourts.gov or at the Clerk's Office, 300 Booth

Street, Reno, NV 89509.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.

 

 

 

 

 

Mary A. Schott
Clerk, U.S. Bankruptcy
Court

| PACER Service Center |

| Transaction Receipt |

 

 

| 06/22/2021 18:18:55

https://ecf.nvb.uscourts.gov/cgi-bin/NoticeOfF iling.p!?39994 1 6/22/2021
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 62 of 75

Steve Harris

 

 

ae annELNnR NNN a
From: Bill Ginn <bill@levertylaw.com>
Sent: Tuesday, June 22, 2021 7:20 PM
To: Steve Harris; geneva@allied 103 1exchange.net
Ce: Gene Leverty; Patrick Leverty; Jess Rinehart
Subject: RE: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive,

Stateline, NV 89449

Dear Mr. Harris,
Please provide the attachments that you reference in your letter. They were not attached.
Sincerely,

William R. Ginn, Esq.

   

LEVERTY & ASSOCIATES LAW CHTD.
"Reno Gould House"

832 Willow Street

Reno, Nevada 89502

Dir.: (775)538-6631

Main Office.: (775) 322-6636

Fax: (775) 322-3953

www.levertylaw.com
bill@levertylaw.com

Licensed in Nevada and California

 

 

PLEASE NOTE: This e-mail message is intended only for the use of the individual or entity of which it is addressed and may contain
information that is privilege, confidential and/or exempt from disclosure. If you are not the intended recipient, you are hereby notified
that any dissemination, distribution, or copying of this communication is strictly prohibited. Lf you have received this communication
in error, please notify us immediately by telephone and delete this e-mail message.

From: Steve Harris <steve@harrislawreno.com>

Sent: Tuesday, June 22, 2021 7:04 PM

To: geneva @allied103 1exchange.net

Cc: Gene Leverty <gene@levertylaw.com>; Bill Ginn <bill@levertylaw.com>

Subject: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive, Stateline, NV 89449
Importance: High

All,

Enclosed please find correspondence for your immediate review to advise you that the bankruptcy automatic stay is in
effect with respect to any foreclosure sale of the above-referenced property.

Thank you,
Steve Harris
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 63 of 75

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 64 of 75

Steve Harris

 

(RRR sstnaneaanaumenaen es

From: Steve Harris

Sent: Tuesday, June 22, 2021 8:01 PM

To: Bill Ginn; geneva@allied103 1exchange.net

Cc: Gene Leverty; Patrick Leverty; Jess Rinehart; Steve Harris

Subject: RE: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive,
Stateline, NV 89449

Attachments: doc00214520210622195927.pdf

| apologize. Attached are the quit claim deeds.

Thank you,
Steve

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600
steve@harrislawreno.com

From: Bill Ginn <bill@levertylaw.com>

Sent: Tuesday, June 22, 2021 7:20 PM

To: Steve Harris <steve@harrislawreno.com>; geneva@allied1031exchange.net

Cc: Gene Leverty <gene@levertylaw.com>; Patrick Leverty <Pat@levertylaw.com>; Jess Rinehart <jess@levertylaw.com>
Subject: RE: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive, Stateline, NV 89449
Dear Mr. Harris,

Please provide the attachments that you reference in your letter. They were not attached.

Sincerely,

William R. Ginn, Esq.

 

LEVERTY & ASSOCIATES LAW CHTD.
"Reno Gould House"

832 Willow Street

Reno, Nevada 89502

Dir.: (775)538-6631

Main Office.: (775) 322-6636

Fax: (775) 322-3953

www. levertylaw.com
bill@levertylaw.com

Licensed in Nevada and California
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 65 of 75

 

 

PLEASE NOTE: This e-mail message is intended only for the use of the individual or entity of which it is addressed and may contain
information that is privilege, confidential and/or exempt from disclosure. If you are not the intended recipient, you are hereby notified
that any dissemination, distribution, or copying of this communication is strictly prohibited. Lf you have received this communication
in error, please notify us immediately by telephone and delete this e-mail message.

From: Steve Harris <steve@harrisiawreno.com>

Sent: Tuesday, June 22, 2021 7:04 PM

To: geneva@allied1031exchange.net

Cc: Gene Leverty <gene@ievertylaw.com>; Bill Ginn <bill@levertylaw.com>

Subject: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive, Stateline, NV 89449
Importance: High

 

All,

Enclosed please find correspondence for your immediate review to advise you that the bankruptcy automatic stay is in
effect with respect to any foreclosure sale of the above-referenced property.

Thank you,
Steve Harris

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600

steve(@harrislawreno.com
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 66 of 75

APN: 1318-25-111-017

RECORDING REQUESTED BY and

AFTER RECORDING MAIL THIS DOCUMENT TO:

Gene M. Kaufmann, Esq.
SULLIVAN LAW

1625 State Route 88, Suite 401
Minden, NV 89423

MAIL TAX STATEMENTS TO GRANTEE:
Juliana Mayer Loza

c/o Gordon Gordon Lawyers

1200 Wilshire Blvd., Suite #608

Los Angeles, CA 90017

 

DOUGLASCOUNTY,NV 99.94 -969516

Rec:$40.00

Total:$40.00 06/22/2021 03:03 PM

JULIANA L. LOZA

mn

7168202109695 160040048
KAREN ELLISON, RECORDER

 

 

 

 

 

 

 

 

 

 

 

 

Pgs=4

UL

[ the undersigned hereby affirm that this document submitted for recording does not contain the social security number of any

person or persons,

(Per NRS 2398, 030)

 

QUIT CLAIM DEED

The ATHENA MEDICAL GROUP DEFINED CONTRIBUTION PENSION PLAN
AND TRUST Number Three by and through its Trustee Committee and the Board of Directors

of its sponsoring corporation, herein by and through its Co-Trustee and Corporate

Officer/Secretary Ingrid van Vuerings, having determined by unanimous consent in
consideration of the Distribution of some of her entitled ERISA Plan Benefits, does hereby
QUIT CLAIM to Juliana Mayer Loza an individual, all rights, title and interest of the
undersigned in and to real property Assessor's Parcel No. 1318-25-111-014, real property
situated in the County of Douglas, State of Nevada, commonly known by its physical address:

429 Panorama Drive, Stateline, Nevada 89449, more particularly described as follows:

COMMENCING at the Southwest corner of said Lot 13, as said Lot is set
forth on the map of Kingsbury Palisades; thence North 0°03'38" East, 58.73 feet
the most Northerly corner of said Lot 13; thence East 117.33 feet to a point in the
Westerly right of way line of Panorama Drive; thence Southeasterly along said
right of way line along a curve concave to the Southeast with a central angle of
30°27'44" and a radius of 125.00 feet, and arc distance of 66.46 feet; thence South
41.33 feet to the Southeast corner of said Lot 13; thence continuing South 131.68
feet; thence North 89°54' West, 99.81 feet to a point from which the West 1/4
corner of said Section 25, bears South 29°12' West 1,347.78 feet; thence North
0°05' West132.00 feet to the point of beginning.
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 67 of 75

RESERVING therefrom that portion lying in the Southwest 1/4 of the
Northwest t/4of Section 25, Township 13 North, Range 18 East, M.D.B. & M., all
of the minerals and mineral ores of any kind, nature and description, on or beneath
the surface of said land and of the right to mine and remove said minerals and
mineral ores as reserve in the deed from Clover Valley Lumber Co,, a Nevada
Corporation, to H.E. West, recorded December 22, 1947, in Book Y of Deeds,
Page 321, Douglas Nevada. APN: 1318-25-111-014

Together with all and singular the tenements, hereditaments and appurtenances thereunto
belonging or in anywise appertaining, and any reversions, remainders, rents, issues or profits
thereof.

This legal description was previously recorded 03/30/2021 as Document No. 2021-
964432.

The undersigned Grantor declares:

Documentary transfer tax is $0.00. This conveyance is a transfer of title from a Tax Exempt
ERISA Trust.

Dated: This 4 l day of June, 2021 in Los Angeles County California. USA

 

 

Ingrid van Vuerings, Co-Trustee
the ATHENA MEDICAL GROUP DEFINED
CONTRIBUTION PENSION PLAN AND
TRUST Number Three and Corporate Officer of the
Athena Medical Group, Inc., (Nevada)
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 68 of 75

CERTIFICATE OF ACKNOWLEDGEMENT OF NOTARY PUBLIC

 

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the
truthfulness, accuracy, or validity of that document.

 

 

 

STATE OF CALIFORNIA )
) Ss:
COUNTY OF LOS ANGELES )

 

 

On al Jane. God before me | lexa nd w Ce (se Jf
notary public, personally appeared Ingrid van Vuerings who proved to me on the'basis of
satisfactory evidence to be the person whose name is subscribed to the within

Cuit Cc lain De cf and acknowledged to me that she executed same in her

authorized capacity, and that by her signature on the instrument the person, or the entity upon

 

behalf of which the person acted, executed the instrument.

I certify under PENALTY of PERJURY under the laws of the State of California that the

forgoing paragraph is true and correct.

WITNESS my hand and official! seal.

 

 

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 69 of 75

 

 

 

STATE OF NEVADA
DECLARATION OF VALUE
1. Assessor Parcel Number(s)
a) 1318-25-111-017
b)
c)
d)

 

2. Type of Property:
a) Vacant Land bv] Single Fam. Res.

 

 

 

c)|_| Condo/Twnhse d)j_ | 2-4 Plex FOR RECORDERS OPTIONAL USE ONLY
e) LJ Apt. Bldg f} | Comm’ IInd’! BOOK. PAGE
. . DATE OF RECORDING: 4
g) lt Agricultural hj} | Mobile Home NOTES: ~~ — TH 7
i) Other [futs4q OCF 7 Fe

 

 

 

 

3. Total Value/Sales Price of Property: $
Deed in Lieu of Foreclosure Only (value of property) (
Transfer Tax Value: $
Real Property Transfer Tax Due: $

 

 

 

4. I[FExemption Claimed:
a. Transfer Tax Exemption per NRS 375.090, Section # 7
b. Explain Reason for Exemption: A transfer of title to or from a trust without consideration

 

5. Partial Interest: Percentage being transferred: %

The undersigned declares and acknowledges, under penalty of perjury, pursuant to NRS 375.060 and NRS
375.110, that the information provided is correct to the best of their information and belief, and can be
supported by documentation if called upon to substantiate the information provided herein. Furthermore, the
parties agree that disallowance of any claimed exemption, or other determination of additional tax due, may
result in a penalty of 10% of the tax due plus interest at 1% per month.

co
Pursuant to N 75,030, the Buyer and Seller shall be jointly and severally liable for any additional amount owed.

 

 

 

 

 

 

 

 

 

 

Signature q iS Capacity Granto
Signature N Capacity
SELLER (GRANTOR) INFORMATION BUYER (GRANTEE) INFORMATION

(REQUIRED) (REQUIRED)
Print Name; Ingrid van Vuerings, Trustee Print Name: Juliana Mayer Loza
Address: 195 Hwy 50 Ste 104, P.M.B.7172-262 Address: | QT thu pra He oy
City: Stateline City: oralo [ hz.
State: NV Zip: 89449-7172 State: (4 Zip-3 Yy %

 

 

COMPANY/PERSON REQUESTING RECORDING
(required if not the seller or buyer)
Print Name; Gene M. Kaufmann Esq., Sullivan Law Escrow #
Addréss: 1625 State Route 88, Ste. 401
City: Minden State: NV Zip: 89423
(AS A PUBLIC RECORD THIS FORM MAY BE RECORDED/MICROFILMED)

 

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 70 of 75

DOUGLAS COUNTY. NY 991 -969515

 

 

 

 

 

 

 

 

Rec:$40.00

Total'$40.00 06/22/2021 03:03 PM

JULIANA L. LOZA Pqs=4
ems wg

                    

 

RECORDING REQUESTED BY and . 72021086
AFTER RECORDING MAIL THIS DOCUMENT TO:

Juliana Mayer Loza

c/o Gordon Gordon Lawyers
1200 Wilshire Blvd., Suite #608
Los Angeles, CA 90017

KAREN ELLISON, RECORDER

MAIL TAX STATEMENTS TO GRANTER:
Juliana Mayer Loza

c/o Gordon Gordon Lawyers

1200 Wilshire Blvd., Suite #608

Los Angeles, CA 90017

 

{the undersigned hercby affirm that this document submitted for recording docs not contain the social security number of any
person or persons, (Per NRS 239B. 030)

 

QUIT CLAIM DEED

A default Judgment, entered in Douglas County District Court case number 2021-CV-
00057, purported to vest title with RAY WARREN EXLEY, deceased. Juliana Mayer Loza,
Special Administrator, of the Estate of RAY WARREN EXLEY contests the validity of the
default judgment and contends that legal title remains vested with The ATHENA MEDICAL
GROUP DEFINED CONTRIBUTION PENSION PLAN AND TRUST Number Three.
Therefore, Jultana Mayer Loza does hereby QUIT CLAIM any interest which the Estate may
have to The ATHENA MEDICAL GROUP DEFINED CONTRIBUTION PENSION PLAN
AND TRUST Number Three in and to real property Assessor's Parcel No. 1318-25-111-014, real
property situated in the County of Douglas, State of Nevada, commonly known by its physical
address: 429 Panorama Drive, Stateline, Nevada 89449, more particularly described as follows:

COMMENCING at the Southwest corner of said Lot 13, as said Lot is set
forth on the map of Kingsbury Palisades; thence North 0°03'38" East, 58.73 feet the
most Northerly corner of said Lot 13; thence East 117.33 [eet to a point in the
Westerly right of way line of Panorama Drive; thence Southeasterly along said right
of way line along a curve concave to the Southeast with a central angle of 30°27'44"
and a radius of 125.00 feet, and arc distance of 66.46 feet; thence South 41.33 feet
to the Southeast corner of said Lot 13; thence continuing South 131.68 fect; thence
North 89°54' West, 99.81 feet to a point fram which the West 1/4 corner of said
Section 25, bears South 29°12' West 1,347.78 feet: thence North 0°O5' West132.00

fect to the point of beginning.
Case 21-50466-nmc Doc7 Entered 06/24/21 11:10:48 Page 71 of 75

RESERVING therefrom that portion lying in the Southwest 1/4 of the
Northwest 1/40f Section 25, Township 13 North, Range 18 East, M.D.B. & M., all
of the minerals and mineral ores of any kind, nature and description, on or beneath
the surface of said land and of the right to mine and remove said minerals and
mineral ores as reserve in the deed from Clover Valley Lumber Co,, a Nevada
Corporation, to H.E. West, recorded December 22, 1947, in Book Y of Deeds, Page
321, Douglas Nevada. APN: 1318-25-111-014

Together with all and singular the tenements, hereditaments and appurtenances thereunto
belonging or in anywise appertaining, and any reversions, remainders, rents, issues or profits
thereof,

This legal description was previously recorded 03/30/2021 as Document No. 2021-910723.

The undersigned Grantor declares:

Documentary transfer tax is $0.00. This conveyance is a transfer of title to a Tax Exempt
ERISA Trust.

Dated: This ), 2 day of June, 2021 in Minden, Douglas County, Nevada.

By Qs onl fe

Jullana Mayer Loza, Spec )Administatr, of the Estate
of RAY WARREN EXLEY
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 72 of 75

CERTIFICATE OF ACKNOWLEDGEMENT OF NOTARY PUBLIC

 

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the
truthfulness, accuracy, or validity of that document.

 

 

 

STATE OF NEVADA
ss:

Nae Ne”

COUNTY OF DOUGLAS )

On Sune Ad, A0A| _ before me Lis a Arele
notary public, personally appeared Juliana Mayer Loza, Special Administrator, of the Estate of
RAY WARREN EXLEY who proved to me on the basis of satisfactory evidence to be the person
whose name is subscribed to the within Qur - Claim Decal and acknowledged to

 

me that she executed same in her authorized capacity, and that by her signature on the instrument

the person, or the entity upon behalf of which the person acted, executed the instrument

I certify under PENALTY of PERJURY under the laws of the State of Nevada that the forgoing

paragraph is true and correct.

 
     
 
     
   

  
  
  

ps NOTARY PUBLIC
BRS) STATE OF NEVADA
Sie County of Douglas

00-62875-5 LISA APPLE
My Appointment Expires Soptembar 8, 2024

oS —

   

WITNESS my hand and official scal.

ruen. eps

  
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 73 of 75

 

 

 

STATE OF NEVADA
DECLARATION OF VALUE
1. Assessor Parcel Number(s)
a) 1318-25-111-017
b)
c)
d)

 

2. Type of Property:
a) Vacant Land by] Single Fam. Res.

 

 

c) |_| Condo/Twnhse d)}_| 2-4 Plex FOR RECORDERS OPTIONAL USE ONLY

©) Lat Apt. Bldg )L_| Comm’ Wind" DATE OF RECORDING. Act

g)Lt Agricultural hj | Mobile Home NOTES 3 Lp...
i) Other_ _ T/A DE= J -

 

 

 

 

3. Total Value/Sales Price of Property: $
Deed in Lieu of Foreclosure Only (value of property) (
Transfer Tax Value: $
Real Property Transfer Tax Due: $

 

 

 

$0.00

4. UExemption Claimed:
a. Transfer Tax Exemption per NRS 375.090, Section # 7
b. Explain Reason for Exemption: A transfer of title to or from a trust without consideration

 

5, Partial Interest: Percentage being transferred: %

The undersigned declares and acknowledges, under penalty of perjury, pursuant to NRS 375.060 and NRS
375.110, that the information provided is correct to the best of their information and belief, and can be
supported by documentation if called upon to substantiate the information provided herein. Furthermore, the
parties agree that disallowance of any claimed exemption, or other determination of additional tax due, may
result in a penalty of 10% of the tax due plus interest at 1% per month.

Ge NRS 375.030, the Buyer and Seller shall be jointly and severally liable for any additional amount owed.
sansa WY ‘eo Capacity Grantor
\

 

 

 

 

 

 

 

 

 

 

Signature - Capacity
xy
SELLER (GRANTOR) INFORMATION BUYER (GRANTEE) INFORMATION
(REQUIRED) (REQUIRED)

Print Name: Juliana Mayer Loza Print Name: Ingrid van Vuerings, Trustee
Address: 4S tHWwt ST) che [oy Address: 195 Hwy 50 Ste 104, P.M.B.7172-262
City: Shale her City: Stateline
State: tof Zip: 23 4 oh - State: NV Zip: 80449-7172

COMPANY/PERSON REQUESTING RECORDING
(required if not the seller or buyer)
Print Name: Gene M. Kaufmann Esq., Sullivan Law Escrow #
Address: 1625 State Route 88, Ste. 401
City; Minden State: NV Zip: 89423
(AS A PUBLIC RECORD THIS FORM MAY BE RECORDED/MICROFILMED)

 
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 74 of 75

Steve Harris
tT

From: Steve Harris

Sent: Tuesday, June 22, 2021 8:07 PM

To: Bill Ginn; geneva@allied 103 1exchange.net

Cc: Gene Leverty; Patrick Leverty; Jess Rinehart

Subject: RE: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive,

Stateline, NV 89449

All,

i also just noticed that my letter to you inadvertently stated the property address was 425 Panorama Drive, and it is in
fact 429 Panorama Drive, Stateline, NV 89449, as evidenced on the quit claim deeds.

Thank you,
Steve

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600
steve@harrislawreno.com

From: Bill Ginn <bill@levertylaw.com>

Sent: Tuesday, June 22, 2021 7:20 PM

To: Steve Harris <steve@harrislawreno.com>; geneva@allied1031exchange.net

Cc: Gene Leverty <gene@levertylaw.com>; Patrick Leverty <Pat@levertylaw.com>; Jess Rinehart <jess@levertylaw.com>
Subject: RE: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive, Stateline, NV 89449

Dear Mr. Harris,
Please provide the attachments that you reference in your letter. They were not attached.
Sincerely,

William R. Ginn, Esq.

   

LEVERTY & ASSOCIATES LAW CHTD.
“Reno Gould House”

832 Willow Street

Reno, Nevada 89502

Dir.: (775)538-6631

Main Office.: (775) 322-6636

Fax: (775) 322-3953

www.levertylaw.com
bill@levertylaw.com
Case 21-50466-nmc Doc7_ Entered 06/24/21 11:10:48 Page 75 of 75

Licensed in Nevada and California

 

 

PLEASE NOTE: This e-mail message is intended only for the use of the individual or entity of which it is addressed and may contain
information that is privilege, confidential and/or exempt from disclosure. If you are not the intended recipient, you are hereby notified
that any dissemination, distribution, or copying of this communication is strictly prohibited. If you have received this communication
in error, please notify us immediately by telephone and delete this e-mail message.

From: Steve Harris <steve@harrisiawreno.com>

Sent: Tuesday, June 22, 2021 7:04 PM

To: geneva @allied103 1lexchange.net

Cc: Gene Leverty <gene@levertylaw.com>; Bill Ginn <bill@levertylaw.com>

Subject: Juliana Mayer Loza Ch 13 Bankruptcy Case No. 12-50466-btb/ 425 Panorama Drive, Stateline, NV 89449
importance: High

All,

Enclosed please find correspondence for your immediate review to advise you that the bankruptcy automatic stay is in
effect with respect to any foreclosure sale of the above-referenced property.

Thank you,
Steve Harris

Stephen R. Harris, Esq.
Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
775-786-7600

steve@harrislawreno.com
